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The Honorable Mark Langer                                           September 8, 2023
Clerk, U.S. Court of Appeals
for the District of Columbia Circuit
E. Barrett Prettyman U.S. Courthouse and
William B. Bryant Annex
333 Constitution Ave. N.W.
Washington, D.C. 20001

      Re: Asinor v. District of Columbia, No. 22-7129, and Cameron v. District of
      Columbia, No. 22-7130 (oral argument in consolidated cases on September
      21, 2023)—Rule 28(j) Letter

Dear Mr. Langer:

       Plaintiffs-Appellants write to inform the Court of two recent decisions
(attached) supporting their Monell arguments.

       First, Frederick Douglass Foundation, Inc. v. District of Columbia, 2023 WL
5209556 (D.C. Cir. Aug. 15, 2023) held that pro-life demonstrators plausibly alleged
several theories by which a District custom or policy led to unconstitutional selective
enforcement of a statute against them. One successful theory there was custom,
which Plaintiffs allege here. See id. at *15; Appellants’ Br. 51. Frederick Douglass
undercuts Defendants’ argument here that successfully pleading a custom requires
alleging “concentrated, fully packed, precisely delineated scenarios.” Appellees’ Br.
46 (citation omitted). Although this Court has applied that standard when reviewing
municipal liability determinations reached after trial, it does not apply at the
pleading stage, see Reply Br. 22, as Frederick Douglass confirms. Rather, what
plaintiffs must do is “plausibly allege the violation was pursuant to an official
custom,” 2023 WL 5209556, at *14—a standard plaintiffs in that case met merely
by “alleg[ing] facts suggesting” that the violation was “persistent and widespread.”
Id. at *15 (emphasis added). Plaintiffs have done likewise here. The 200-plus
examples Plaintiffs cite of the challenged custom, see Reply Br. 21-22, plausibly
“suggest[],” based on “common sense,” 2023 WL 5209556, at *14-*15 (citation and
internal quotation marks omitted), that the District’s practice of retaining cell phones
longer than reasonably necessary is “persistent and widespread.”



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       Second, in Brown v. Knapp, 75 F.4th 638, 651-52 & n.5 (6th Cir. 2023), the
Sixth Circuit rejected the argument that officers who detain arrestees longer than 48
hours without probable-cause hearings violate the Fourth Amendment only by acting
“knowingly or intentionally” and not “negligen[tly].” This conclusion rebuts the
District’s assertion that Fourth Amendment claims invariably require intentional
conduct—and that Plaintiffs therefore must allege a custom of intentional acts. See
Appellees’ Br. 48-49. In fact, “distinct Fourth Amendment claims” use “their own
particularized standards” regarding officers’ requisite mental state. Brown, 75 F.4th
at 651 n.5. Here, as Plaintiffs explained, over-detaining property, like over-detaining
people, violates the Fourth Amendment regardless of the intent of the officers
involved. See Appellants’ Br. 52-53; Reply Br. 26-27.

                                        Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I certify that the foregoing letter complies with the word limit of Fed. R.
App. P. 28(j) because the body of the letter is 349 words long.

                                       /s/ Michael Perloff
                                       Michael Perloff




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     Attachment 1
Frederick Douglass Foundation, Inc. v. District of Columbia, --- F.4th ---- (2023)
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                    2023 WL 5209556                              organization plausibly alleged that District of Columbia
      Only the Westlaw citation is currently available.          abridged its members’ First Amendment rights by enforcing
              United States Court of Appeals,                    District's ordinance against them;
               District of Columbia Circuit.
                                                                 organization was not required to allege discriminatory
                                                                 intent in order to state § 1983 First Amendment selective
           FREDERICK DOUGLASS
                                                                 enforcement claim against District;
      FOUNDATION, INC., et al., Appellants
                     v.                                          organization did not plausibly plead that District's
       DISTRICT OF COLUMBIA, Appellee                            enforcement of its ordinance against organization's members,
                                                                 but not against protestors was rooted in purposeful
                       No. 21-7108                               discrimination, as required for its § 1983 selective
                             |                                   enforcement claim under Fifth Amendment;
                 Argued September 28, 2022
                             |                                   organization plausibly alleged predicate First Amendment
                  Decided August 15, 2023                        selective enforcement violation was pursuant to official
                                                                 custom or policy so as to establish District's liability under
Synopsis                                                         Monell; and
Background: Anti-abortion organization and protestors
brought suit against District of Columbia, claiming that         District's ordinance prohibiting defacement of property was
enforcement of defacement ordinance against them, but not        not unconstitutional “as applied” to organization's pro-life
against others voicing distinct messages, violated the First     speech.
Amendment prohibition of viewpoint discrimination, the
Fifth Amendment's equal protection guarantee, expressive
association rights, the Religious Freedom Restoration Act        Affirmed in part, reversed in part, and remanded.
(RFRA), and the free exercise clause. Organization and
protestors moved for a preliminary injunction barring District   Wilkins, Circuit Judge, concurred in judgment and filed
from enforcing ordinance against them at forthcoming rally.      opinion.
The United States District Court for District of Columbia,
531 F.Supp.3d 316, James E. Boasberg, Chief Judge, denied
                                                                 Appeal from the United States District Court for the District
preliminary injunction. Organization and protestors filed
                                                                 of Columbia (No. 1:20-cv-03346)
amended complaint, alleging violations of the First and
Fifth Amendments, conceding the defacement ordinance was         Attorneys and Law Firms
facially constitutional, but arguing the District's one-sided
enforcement of the ordinance was not. The District Court,        Erin M. Hawley argued the cause for appellants. With her on
Boasberg, Chief Judge, 2021 WL 3912119, granted District's       the briefs were John J. Bursch, Kevin H. Theriot, and Jacob
motion to dismiss for failure to state claim. Organization and   P. Warner.
protestors appealed.
                                                                 Samuel J. Salario, Jr. was on the brief for amicus curiae
                                                                 Americans United for Life in support of appellants.

Holdings: The Court of Appeals, Rao, Circuit Judge, held         Jacob L. Phillips was on the brief for amicus curiae The Susan
that:                                                            B. Anthony List in support of appellants.

                                                                 Carl J. Schifferle, Deputy Solicitor General, Office of the
organization plausibly alleged that its members, who were
                                                                 Attorney General for the District of Columbia, argued the
arrested for printing “Black Pre-Born Lives Matter” on public
                                                                 cause for appellee. With him on the brief were Karl A. Racine,
sidewalk, were similarly situated to those protestors who were
                                                                 Attorney General, Caroline S. Van Zile, Solicitor General, and
not arrested for painting public sidewalks with “Black Lives
                                                                 Ashwin P. Phatak, Principal Deputy Solicitor General.
Matter” message for purposes of organization's § 1983 claim;


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                                                                   basis of viewpoint irrespective of the government's motive.
Before: Wilkins, Rao and Childs, Circuit Judges.                   We hold the Foundation has plausibly alleged the District
                                                                   discriminated on the basis of viewpoint in the selective
Opinion
                                                                   enforcement of its defacement ordinance. We therefore
                                                                   reverse the dismissal of the Foundation's First Amendment
Opinion concurring in the judgment filed by Circuit Judge          claim and remand for further proceedings.
Wilkins.

Rao, Circuit Judge:
                                                                   I.
 *1     The First Amendment prohibits government
discrimination on the basis of viewpoint. “To permit one           This case is about the District's alleged discriminatory
side ... to have a monopoly in expressing its views ... is the     enforcement of its defacement ordinance. The ordinance
antithesis of constitutional guarantees.” City of Madison Joint    prohibits “willfully and wantonly ... writ[ing], mark[ing],
Sch. Dist. No. 8 v. Wis. Emp. Relations Comm'n, 429 U.S. 167,      draw[ing], or paint[ing]” on public or private property,
175–76, 97 S.Ct. 421, 50 L.Ed.2d 376 (1976). The protection        without the consent of the owner or the public official
for freedom of speech applies not only to legislation, but         controlling the property.1 D.C. Code § 22–3312.1. The parties
also to enforcement of the laws. This case concerns a              agree the ordinance does not, on its face, violate the First
constitutional challenge to the selective enforcement of the       Amendment. The provision is content- and viewpoint-neutral
District of Columbia's defacement ordinance against some           and serves the District's interest in preventing vandalism.
viewpoints but not others.                                         Instead, the Foundation alleges the District discriminated on
                                                                   the basis of viewpoint by selectively enforcing the ordinance
In the summer of 2020, thousands of protesters flooded the         against those who chalked “Black Pre-Born Lives Matter,”
streets of the District to proclaim “Black Lives Matter.”          but not against those who painted, marked, and chalked
Over several weeks, the protesters covered streets, sidewalks,     “Black Lives Matter.”
and storefronts with paint and chalk. The markings were
ubiquitous and in open violation of the District's defacement       *2 At the motion to dismiss stage, we “accept as true all
ordinance, yet none of the protesters were arrested. During        of the allegations” in the complaint. Ashcroft v. Iqbal, 556
the same summer, District police officers arrested two pro-life    U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). We
advocates in a smaller protest for chalking “Black Pre-Born        recount the facts as set forth by the Foundation, most of which
Lives Matter” on a public sidewalk.                                are not contested by the District.

The organizers of the smaller protest, the Frederick Douglass
Foundation and Students for Life of America (collectively
                                                                   A.
“the Foundation”), sued. The Foundation alleged violations
of the First and Fifth Amendments, conceding the defacement        George Floyd's death at the hands of a Minneapolis police
ordinance was facially constitutional, but arguing the             officer in May 2020 sparked a wave of protests across the
District's one-sided enforcement of the ordinance was not.         country. The District played host to some of the largest and
The district court dismissed the complaint. Concluding             most sustained of these Black Lives Matter protests, which
the First Amendment and equal protection claims were               addressed the excessive use of police force and other issues
essentially the same, the district court held the Foundation had   of racial justice. Most of the protests occurred in May and
failed to adequately allege discriminatory intent, which the       early June but some scattered events continued until late
court considered a necessary element of both claims.               summer. District leadership, including Mayor Muriel Bowser,
                                                                   supported the message of the protests and commissioned a
We affirm the district court's dismissal of the Foundation's       painting of “Black Lives Matter” to cover a street for more
equal protection claim because the Foundation has not
                                                                   than a city block.2
plausibly alleged invidious discrimination by District
officials. Discriminatory motive, however, is not an element
of a First Amendment free speech selective enforcement
claim. The First Amendment prohibits discrimination on the



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The District all but abandoned enforcement of the defacement
ordinance during the Black Lives Matter protests, creating a
de facto categorical exemption for individuals who marked
                                                                Also in the summer of 2020, two pro-life organizations
“Black Lives Matter” messages on public and private
                                                                planned a protest. The Frederick Douglass Foundation is a
property. The complaint offers a number of examples. The day
                                                                non-profit education and policy group that advocates for free
after Mayor Bowser's street mural was revealed, protestors
                                                                markets and limited government. Among other things, the
added an equal sign and “Defund the Police,” so the message
                                                                Frederick Douglass Foundation “acts as a liaison between
read “Black Lives Matter = Defund the Police.”
                                                                black, faith-based organizations” and elected officials, and
                                                                seeks to protect “black babies still in the womb.” Students
                                                                for Life of America, the nation's largest pro-life youth
                                                                organization, recruits and mobilizes students to help abolish
                                                                abortion. These organizations planned a small rally—for
                                                                less than 50 supporters—to proclaim “Black Pre-Born Lives
                                                                Matter” and paint this message on the streets.

                                                                 *3 In the lead up to the pro-life rally, the Foundation applied
Police officers watched as the alteration took place and did
                                                                for and received a permit to assemble. In a conversation
nothing to stop it. Although the Black Lives Matter advocates
                                                                about the permit, a police officer gave the Foundation
did not seek a permit or otherwise receive consent, they were
                                                                verbal permission to paint its “Black Pre-Born Lives Matter”
neither arrested nor charged under the defacement ordinance.
                                                                message on the street. The officer explained that he believed
In fact, the District left the addition in place for months,
                                                                Mayor Bowser had effectively opened up the District's streets
eventually removing it in mid-August.
                                                                for political markings. The Foundation also sent a letter to
                                                                Mayor Bowser asking to paint a mural and declaring it a
Black Lives Matter protesters also covered construction
                                                                constitutional right to do so. Mayor Bowser did not respond.
scaffolding outside the Chamber of Commerce with graffiti,
murals, and photographs. Again the protesters were neither
                                                                When the pro-life advocates arrived for their rally on August
stopped nor arrested for blatant violations of the defacement
                                                                1, six police cars and many police officers were waiting.
ordinance.3 Over weeks and months, many individuals             The officers said the advocates could assemble in accordance
painted streets, sidewalks, and storefronts with graffiti and   with the Foundation's permit, but if they painted or chalked
chalk espousing variations on the “Black Lives Matter”          their message on the sidewalk, they would be arrested for
message. Not a single permit was sought, and not one            violating the defacement ordinance. Two students began
person was punished for violating the defacement ordinance.     to chalk “Black Pre-Born Lives Matter” on the sidewalk
For months, the District allowed many of the Black Lives        anyway. Despite the message being written in small, faint
Matter markings, paintings, and drawings to remain on public    letters with washable chalk, the two students were arrested.
property.                                                       The entire event was caught on video.




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                                                                   The district court declined to enjoin enforcement of the
                                                                   defacement ordinance at the March 27 protest, concluding
                                                                   the Foundation was not likely to succeed on the merits of its
                                                                   constitutional and statutory claims. Id. at 345. In response, the
                                                                   Foundation amended its complaint. The Foundation reiterated
                                                                   its claims that the District had violated its members’ rights
                                                                   under the First and Fifth Amendments, and under RFRA, by
                                                                   allowing individuals to mark “Black Lives Matter” on public
                                                                   streets and sidewalks, but arresting those who marked “Black
                                                                   Pre-Born Lives Matter.” The Foundation sought a declaratory
                                                                   judgment, preliminary and permanent injunctive relief, and
                                                                   damages under 42 U.S.C. § 1983.
This was not the only incident. The Foundation planned to
hold another rally on March 27, 2021, to proclaim “Black            *4 The district court granted the District's motion to
Pre-Born Lives Matter” and write their message on the public       dismiss for failure to state a claim under Federal Rule of
street. The Foundation sought a permit and was allowed by          Civil Procedure 12(b)(6). The court expressed uncertainty
the District to assemble with a bullhorn and a music stand.        about how to treat the free speech and equal protection
The District again denied the Foundation's request to paint or     claims in particular, but ultimately concluded they were
mark on the street or sidewalk.                                    “essentially the same.” Frederick Douglass Found. v. District
                                                                   of Columbia, 2021 WL 3912119, at *4 (D.D.C. Sept. 1,
                                                                   2021). Moreover, both constitutional claims failed because
B.                                                                 the Foundation had not plausibly alleged the District had a
                                                                   discriminatory purpose. In the alternative, the district court
Having failed to secure a permit from the District, the            held the Foundation had not sufficiently alleged the District
Foundation—joined by three individual members—sought to            had a policy of selective enforcement, as required to establish
enjoin the District from enforcing the defacement ordinance        municipal liability under Monell v. Department of Social
during their rally on March 27. Frederick Douglass Found.          Services, 436 U.S. 658, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978).
v. District of Columbia, 531 F. Supp. 3d 316, 322 (D.D.C.
2021). The Foundation claimed the vigorous enforcement             On appeal, the Foundation leaves aside its free exercise, free
of the ordinance against individuals expressing “Black Pre-        association, and RFRA claims, but maintains the district court
Born Lives Matter” and the lack of enforcement against             erred by dismissing the free speech and equal protection
individuals expressing “Black Lives Matter” violated the           claims.
Free Speech, Free Exercise, and Free Association Clauses of
the First Amendment, the equal protection guarantee of the
Fifth Amendment, and the Religious Freedom Restoration
                                                                   II.
Act (“RFRA”). Id. at 328–45. The Foundation argued
Mayor Bowser and District officials discriminated against          We review de novo the district court's dismissal for failure to
their pro-life message, as evidenced by Mayor Bowser's             state a claim. Jackson v. Modly, 949 F.3d 763, 767 (D.C. Cir.
commissioning of the Black Lives Matter mural and her              2020). To survive a motion to dismiss under Rule 12(b)(6),
strong public support of Planned Parenthood and its pro-           “a complaint must contain sufficient factual matter, accepted
choice agenda. The Foundation claimed the District seemed          as true, to state a claim to relief that is plausible on its face.”
eager to arrest its members, pointing to the rapid, coordinated,   Iqbal, 556 U.S. at 678, 129 S.Ct. 1937 (cleaned up). The
and overwhelming response to the small gathering in August         court must be able to draw a “reasonable inference that the
2020. Because its protest was similarly situated to the Black      defendant is liable for the misconduct alleged.” Id. At this
Lives Matter protest, the Foundation argued that viewpoint         stage, “we construe the complaint liberally,” granting the
discrimination was the only explanation for the District's         Foundation “the benefit of all inferences that can be derived
disparate treatment.                                               from the facts alleged.” Zukerman v. USPS, 961 F.3d 431, 436
                                                                   (D.C. Cir. 2020) (cleaned up).




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The Foundation alleges the District of Columbia is liable          American law.”) (cleaned up). Prosecutorial discretion lies
under 42 U.S.C. § 1983 for viewpoint discrimination in the         within the “special province of the Executive Branch,
selective enforcement of its defacement ordinance. Section         inasmuch as it is the Executive who is charged by the
1983 provides, “[e]very person who, under color of any             Constitution to ‘take Care that the Laws be faithfully
statute, ordinance, regulation, custom, or usage, of ... the       executed.’ ” Heckler v. Chaney, 470 U.S. 821, 832, 105 S.Ct.
District of Columbia, subjects, or causes to be subjected,         1649, 84 L.Ed.2d 714 (1985) (quoting U.S. Const. art. II, § 3);
any ... person ... to the deprivation of any rights, privileges,   see also Community for Creative Non-Violence v. Pierce, 786
or immunities secured by the Constitution and laws, shall          F.2d 1199, 1201 (D.C. Cir. 1986) (same). It follows from these
be liable.” A municipality or local government, such as            principles that the “conscious exercise of some selectivity in
the District, is a “person” for section 1983 purposes. See         enforcement is not in itself a federal constitutional violation.”
Monell, 436 U.S. at 692, 98 S.Ct. 2018; Blue v. District           See Oyler v. Boles, 368 U.S. 448, 456, 82 S.Ct. 501, 7 L.Ed.2d
of Columbia, 811 F.3d 14, 18 (D.C. Cir. 2015). Local               446 (1962).
governments, however, are not liable for injuries inflicted
solely by their employees or agents; the government must be         *5 Because prosecutorial discretion lies within the
the “moving force” behind the violation. Monell, 436 U.S. at       executive's sphere, the exercise of such discretion is not
694, 98 S.Ct. 2018. Therefore, to maintain its section 1983        generally reviewable by the courts. See ICC v. Bhd. of
claim, the Foundation must plausibly allege that the District      Locomotive Eng'rs, 482 U.S. 270, 283, 107 S.Ct. 2360, 96
violated the Constitution and that the violation was the result    L.Ed.2d 222 (1987) (“[T]he refusal to prosecute cannot be
of an official custom or policy. Id.                               the subject of judicial review.”); Heckler, 470 U.S. at 831,
                                                                   105 S.Ct. 1649 (describing “the general unsuitability for
                                                                   judicial review of agency decisions to refuse enforcement”).
                                                                   As we have explained, the “Executive's charging authority
III.
                                                                   embraces decisions about whether to initiate charges, whom
We begin with the constitutional violation. The Foundation         to prosecute, which charges to bring,” and “[i]t has long been
alleges the District selectively enforced its defacement           settled that the Judiciary generally lacks authority to second-
ordinance on the basis of viewpoint in violation of the            guess those Executive determinations.”4 United States v.
First and Fifth Amendments. A selective enforcement claim          Fokker Servs. B.V., 818 F.3d 733, 737 (D.C. Cir. 2016).
has two elements: a plaintiff must demonstrate (1) he was
similarly situated in material respects to other individuals       Despite the general presumption against judicial review
against whom the law was not enforced, and (2) the selective       of prosecutorial decisions, courts may review selective
enforcement infringed a constitutional right. In this Part, we     enforcement claims to assess whether the executive's choice
set forth the similarly situated requirement and assess whether    of prosecution targets infringes on constitutional rights. The
the Foundation's allegations are plausible.                        executive cannot selectively enforce the law in a way that
                                                                   violates the Constitution. United States v. Batchelder, 442
                                                                   U.S. 114, 125, 99 S.Ct. 2198, 60 L.Ed.2d 755 (1979)
                                                                   (“Selectivity in the enforcement of criminal laws is, of
A.
                                                                   course, subject to constitutional constraints.”). And “although
Selective enforcement claims require courts to separate            prosecutorial discretion is broad, it is not unfettered.” Wayte v.
unlawful discrimination from the ordinary and lawful               United States, 470 U.S. 598, 608, 105 S.Ct. 1524, 84 L.Ed.2d
exercise of prosecutorial discretion. Because the executive        547 (1985) (cleaned up).
cannot address every violation of the laws, the prosecution
(and non-prosecution) power is a vital aspect of the executive     Because selective enforcement claims risk invading the
power. See, e.g., United States v. Nixon, 418 U.S. 683,            “special province of ... prosecutorial discretion,” the Supreme
693, 94 S.Ct. 3090, 41 L.Ed.2d 1039 (1974) (explaining             Court has emphasized “that the standard for proving them
“the Executive Branch has exclusive authority and absolute         is particularly demanding.” Reno v. American-Arab Anti-
discretion to decide whether to prosecute a case”); McCleskey      Discrimination Comm., 525 U.S. 471, 489, 119 S.Ct.
v. Kemp, 481 U.S. 279, 311–12, 107 S.Ct. 1756, 95 L.Ed.2d          936, 142 L.Ed.2d 940 (1999). To make out a selective
262 (1987) (“[T]he capacity of prosecutorial discretion            enforcement claim, the target of enforcement must displace
to provide individualized justice is firmly entrenched in          “the presumption that a prosecutor has acted lawfully.” Id.



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This requires a plaintiff to demonstrate he was singled out for    similarities between the actions of the two groups. To begin
enforcement “from among others similarly situated.” Branch         with, both groups gathered about matters of public concern
Ministries v. Rossotti, 211 F.3d 137, 144 (D.C. Cir. 2000)         and sought to disseminate a political message, in one instance
(cleaned up).                                                      that “Black Lives Matter,” and in the other that “Black Pre-
                                                                   Born Lives Matter.” The locations of the gatherings were
Individuals “are similarly situated when their circumstances       also the same: namely public streets and sidewalks in the
present no distinguishable legitimate prosecutorial factors        District. And the events were proximate in time, held during
that might justify making different prosecutorial decisions        the summer of 2020 when public attention focused on the
with respect to them.” Id. at 145 (cleaned up); see also           problems of racial justice and police violence against black
Att'y Gen. v. Irish People, Inc., 684 F.2d 928, 946 (D.C.          Americans. Many Black Lives Matter protests occurred in
Cir. 1982) (“Discrimination cannot exist in a vacuum; it           May and June, but at least one event occurred as late as August
can be found only in the unequal treatment of people in            16. The Foundation held its first rally between these dates, on
similar circumstances.”). The “similarly situated requirement      August 1.
is necessary” to ensure courts are not “ ‘interfer[ing] with the
course of criminal justice.’ ” United States v. Armstrong, 517     There was also strong evidence that both groups violated
U.S. 456, 466–67, 116 S.Ct. 1480, 134 L.Ed.2d 687 (1996)           the defacement ordinance. Black Lives Matter advocates
(quoting Ah Sin v. Wittman, 198 U.S. 500, 508, 25 S.Ct. 756,       painted streets, sidewalks, and storefronts with messages
49 L.Ed. 1142 (1905)).                                             such as “Protect Black Youth,” “Our Streets,” and “Abolish
                                                                   the Police.” The complaint includes photographs of the
The similarly situated requirement strikes the proper balance      conspicuous defacements. Similarly, the Foundation sought
between executive discretion and judicial enforcement of           to chalk the “Black Pre-Born Lives Matter” message
constitutional rights by isolating whether a decision turns        conspicuously on a public sidewalk. Police officers were
on “unlawful favoritism,” rather than lawful prosecutorial         present and witnessed defacement by both groups. For
considerations. See Thomas v. Chi. Park Dist., 534 U.S. 316,       example, officers stood by and watched as the “Defund the
325, 122 S.Ct. 775, 151 L.Ed.2d 783 (2002). In practice,           Police” message was added to the District's Black Lives
courts must assess whether a plaintiff is similarly situated       Matter street painting. Both groups violated the defacement
to a person against whom the law was not enforced across           ordinance by “writ[ing], mark[ing], draw[ing], or paint[ing]”
the relevant prosecutorial factors. Such factors may include       on public property without consent, D.C. Code § 22–3312.1,
“the strength of the case, the prosecution's general deterrence    and the District was well aware of the violations.
value, the Government's enforcement priorities, and the case's
relationship to the Government's overall enforcement plan.”        Finally, the District's differential response fails to correspond
Wayte, 470 U.S. at 607, 105 S.Ct. 1524; see also Beverly           with the culpability of the two groups or the general
Health & Rehab. Servs. v. Feinstein, 103 F.3d 151, 153             deterrence value of enforcement against them. The
(D.C. Cir. 1996) (stating executive officials may balance          Foundation's members managed to write a single, small pro-
“culpability, evidence, prosecutorial resources, and the public    life message in washable chalk before being arrested for
interest” in enforcement decisions).                               violating the defacement ordinance. By contrast, for weeks,
                                                                   individuals participating in the Black Lives Matter protests
 *6 The factors will vary and cannot be reduced to a singular      painted their messages on public streets and sidewalks,
list. See Hu v. City of New York, 927 F.3d 81, 97 (2d Cir.         as well as private property. And yet allegedly no arrests
2019). Determining whether a plaintiff is similarly situated to    were made for defacement that included the “Black Lives
those not prosecuted will be a fact-intensive and case-specific    Matter” message. This lopsided prosecutorial response—
comparative inquiry.                                               several arrests for small, chalked pro-life messages and no
                                                                   arrests for widespread “Black Lives Matter” messages—
                                                                   does not comport with the deterrence value or culpability
                                                                   associated with the number of protesters and the scope of
B.
                                                                   defacement, suggesting improper selective enforcement.
The Foundation has plausibly alleged its members were
similarly situated to the Black Lives Matter advocates.            We find the Foundation has plausibly alleged its members
Accepting the Foundation's facts as true, there are salient        were similarly situated to individuals expressing “Black



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Lives Matter” across a range of relevant prosecutorial             Nor can the District rely on the fact that the Foundation
factors, including the strength of the case, available evidence,   gave “advance notice” of its defacement by requesting
culpability, and the resources required to obtain a conviction.    a permit, unlike the Black Lives Matter advocates. The
                                                                   District does not deny that officers were present at the Black
                                                                   Lives Matter protests, that vandalism and protest art were
                                                                   ubiquitous, and that the protests were long running. “Advance
C.
                                                                   notice” of defacement does not distinguish the speakers.
 *7 The District argues it is not plausible that individuals       The officers were equally aware and could anticipate that
at the Foundation's small rally were similarly situated to         both the Foundation's and the Black Lives Matter events
individuals at the Black Lives Matter protests. First, the         would include defacement of public property with political
District maintains the Black Lives Matter protests were much       speech. In fact, one officer allegedly stated that Mayor
larger, involving tens of thousands of people flooding the         Bowser had “opened Pandora's Box” with her response to
streets of downtown Washington. In light of the intensity          the Black Lives Matter protests and made it legal to paint on
and scale of the protests, the District was concerned that         the streets. In such circumstances, the request for a permit
making arrests for defacement would drain police resources         does not undermine the Foundation's selective enforcement
and distract officers from other priorities, such as ensuring      allegations.5
public safety and addressing widespread looting and property
damage.                                                            *8
                                                                   ***
We do not doubt these are legitimate prosecutorial factors
that will be part of the merits assessment of whether the          Selective enforcement claims must clear a high hurdle.
Foundation has demonstrated its members were similarly             Because the lawful exercise of prosecutorial discretion does
situated. Nonetheless, at the motion to dismiss stage, the         not violate the Constitution, disparate enforcement of a
Foundation's allegations allow us to reasonably infer that its     neutral ordinance based on viewpoint is unlawful only
protesters were similarly situated to at least some of the Black   when the prosecutorial factors are similar, and “unlawful
Lives Matter protesters.                                           favoritism” remains the predominant explanation for the
                                                                   government's targets. See Thomas, 534 U.S. at 325, 122 S.Ct.
The comparison is not only between the Foundation's single,        775. The Foundation has plausibly alleged that when chalking
small rally and the large Black Lives Matter protests that         the “Black Pre-Born Lives Matter” message, its advocates
occurred over weeks. Rather, we consider whether the               were similarly situated to advocates who painted and marked
plaintiffs were similarly situated to any individuals against      the “Black Lives Matter” message.
whom the defacement ordinance was not enforced. The
complaint alleges that individuals violated the defacement
ordinance during Black Lives Matter protests that varied in
                                                                   IV.
size and intensity. Even assuming the District is correct—
and defacement by individuals at the largest Black Lives           The second element of a selective enforcement claim is
Matter protests presented distinct enforcement challenges—         the infringement of a constitutional right. The Foundation
the complaint includes allegations of non-enforcement at           alleges the District's selective enforcement of the defacement
smaller and more discrete Black Lives Matter events that are       ordinance violated the First and Fifth Amendments. We begin
not so easily distinguished. For example, on August 16, a          with the First Amendment claim.
smaller Black Lives Matter event, “Reclaim DC,” called for
individuals to once again “create art in all forms” on H Street.
There was no enforcement of the defacement ordinance even
at these smaller events. Given the scope of the Black Lives        A.
Matter protests, the extent of graffiti around the city, and
                                                                   The Foundation maintains the District engaged in viewpoint
the lack of enforcement by District police, we can readily
                                                                   discrimination by selectively enforcing the defacement
infer that the Foundation's members were at times similarly
                                                                   ordinance. The gravamen of the complaint is that District
situated to Black Lives Matter proponents.
                                                                   police consistently declined to enforce the defacement
                                                                   ordinance against individuals who expressed “Black Lives


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Matter” messages through graffiti, painting, and chalking,         viewpoint discrimination is “poison.” Iancu v. Brunetti, –––
while vigorously enforcing the ordinance against individuals       U.S. ––––, 139 S. Ct. 2294, 2302, 204 L.Ed.2d 714 (2019)
chalking the “Black Pre-Born Lives Matter” message. The            (Alito, J., concurring); see also Rosenberger, 515 U.S. at
Foundation recognizes the facial constitutionality of the          829, 115 S.Ct. 2510. It is antithetical to a free society for
ordinance as a neutral time, place, or manner restriction, but     the government to give “one side of a debatable public
maintains the selective enforcement of the ordinance based         question an advantage in expressing its views to the people.”
on the content and viewpoint of speech violates the First          First Nat'l Bank of Bos. v. Bellotti, 435 U.S. 765, 785, 98
Amendment. The precise doctrinal label for this type of claim      S.Ct. 1407, 55 L.Ed.2d 707 (1978). “[G]overnment favoritism
has generated some confusion, which we address below. See          in public debate is so pernicious to liberty and democratic
infra Part C. The legal principles, however, are relatively        decisionmaking” that viewpoint discrimination will almost
straightforward.                                                   always be “rendered unconstitutional.” Archdiocese of Wash.
                                                                   v. Wash. Metro. Area Transit Auth., 897 F.3d 314, 337 (D.C.
The First Amendment provides that “Congress shall make no          Cir. 2018) (Wilkins, J., concurring).
law ... abridging the freedom of speech.” U.S. Const. amend.
I. While the Amendment refers to Congress, its prohibition         The First Amendment also applies with particular force in
against infringements on free speech applies equally to            traditional public fora, which are “used for public assembly
executive actions.6 As the Supreme Court has recognized,           and debate.” Frisby v. Schultz, 487 U.S. 474, 480, 108 S.Ct.
“[t]he pervasive restraint on freedom of discussion by the         2495, 101 L.Ed.2d 420 (1988). “Sidewalks, like streets and
practice of the authorities under [a] statute is not any less      parks, are places whose title has immemorially been held
effective than a statute expressly permitting such selective       in trust for the use of the public. As such, they occupy
enforcement.” Cox v. Louisiana, 379 U.S. 536, 557, 85              a privileged position in the hierarchy of first amendment
S.Ct. 453, 13 L.Ed.2d 471 (1965). The First Amendment              jurisprudence.” White House Vigil for the ERA Comm. v.
protects against executive infringements on free speech            Clark, 746 F.2d 1518, 1526–27 (D.C. Cir. 1984) (cleaned
and was directed at the “core abuse” of licensing laws             up). “[M]embers of the public retain strong free speech rights
that granted broad discretion to enforce vague legislative         when they venture into public streets and parks.” Pleasant
schemes. Thomas, 534 U.S. at 320, 122 S.Ct. 775; see               Grove City v. Summum, 555 U.S. 460, 469, 129 S.Ct. 1125,
also James Madison, Report of 1799, in The Virginia                172 L.Ed.2d 853 (2009). In a public forum, content-based
Report of 1799–1800 & Virginia Resolutions of December             regulations receive strict scrutiny, and government regulation
21, 1798, at 189, 220 (1850) (discussing freedom of                on the basis of viewpoint is prohibited. Minn. Voters All. v.
the press under the common law and arguing the First               Mansky, ––– U.S. ––––, 138 S. Ct. 1876, 1885, 201 L.Ed.2d
Amendment secures rights “against legislative, as well as          201 (2018).
against executive ambition”); Jud Campbell, Natural Rights
and the First Amendment, 127 Yale L.J. 246, 260 (2017)             It is fundamental to our free speech rights that the government
(explaining the Founders especially prized “the common-law         cannot pick and choose between speakers, not when
rule against press licensing”). Prosecutorial decisions, like      regulating and not when enforcing the laws. As the Supreme
other government actions, cannot turn on the exercise of free      Court has stated, “[g]ranting waivers to favored speakers
speech rights. Wayte, 470 U.S. at 608, 105 S.Ct. 1524.             (or, more precisely, denying them to disfavored speakers)
                                                                   would of course be unconstitutional.” Thomas, 534 U.S. at
 *9 Specifically, selective enforcement of a neutral and           325, 122 S.Ct. 775. This circuit has recognized, for instance,
facially constitutional law may run afoul of the First             that a viewpoint discrimination claim may arise when a
Amendment if the government's prosecutorial choices turn on        plaintiff alleges that he was “prevented from speaking ...
the content or viewpoint of speech. It is well established the     while someone espousing another viewpoint was ... permitted
government “may not regulate speech based on its substantive       to do so.” Zukerman, 961 F.3d at 446 (quoting McCullen
content or the message it conveys.” Rosenberger v. Rector &        v. Coakley, 573 U.S. 464, 485 n.4, 134 S.Ct. 2518, 189
Visitors of the Univ. of Va., 515 U.S. 819, 828, 115 S.Ct. 2510,   L.Ed.2d 502 (2014)). In Zukerman, an individual sought
132 L.Ed.2d 700 (1995). Thus, “[c]ontent-based regulations         to make a custom postage stamp with a message about
are presumptively invalid.” R. A. V. v. City of St. Paul, 505      campaign finance laws, but was denied under a postal service
U.S. 377, 382, 112 S.Ct. 2538, 120 L.Ed.2d 305 (1992).             policy prohibiting “political” designs. Id. at 435, 438. The
Restrictions based on viewpoint are especially invidious;          plaintiff's challenge concerned, in part, selective enforcement



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of the policy—other stamps with political messages had been        police effectively exempted advocates of the “Black Lives
printed. Id. at 435. We held such “allegations pass the most       Matter” message from the requirements of the ordinance. In
basic ... test for viewpoint discrimination,” namely that “the     contrast, the police showed up in force to the Foundation's
government has singled out a subset of messages for disfavor       small rally and arrested individuals who chalked “Black Pre-
based on the views expressed.” Id. at 446 (cleaned up).            Born Lives Matter” on the sidewalk.

We have similarly emphasized “the government has no                The District's unequal enforcement plausibly turned on
authority to license one side to fight freestyle, while            viewpoint and occurred in a public forum. First, both
forbidding the other to fight at all.” Mahoney v. Babbitt, 105     messages—“Black Lives Matter” and “Black Pre-Born Lives
F.3d 1452, 1454 (D.C. Cir. 1997). In Mahoney, a small pro-         Matter”—are political speech. Allowing the expression of one
life group sought to picket during President Clinton's second      message while silencing another is quintessential viewpoint
inaugural parade to protest the administration's abortion          discrimination. See Rosenberger, 515 U.S. at 831, 115
policies. Id. at 1453. The National Park Service revoked the       S.Ct. 2510 (“It is ... objectionable to exclude ... one ...
pro-life group's permit to assemble, and the group raised a        political, economic, or social viewpoint.”); Matal v. Tam,
First Amendment challenge to the unequal enforcement of            582 U.S. 218, 243, 137 S.Ct. 1744, 198 L.Ed.2d 366 (2017)
the permit requirements. Id. at 1455. The constitutionality of     (plurality opinion) (“Our cases use the term ‘viewpoint’
the facially neutral permitting regulations was not at issue,      discrimination in a broad sense.”). The District plausibly
only the selective enforcement of those regulations against        engaged in viewpoint discrimination by excluding the pro-life
the particular viewpoint of the protesters. See id. at 1453,       perspective from the public square.
1455. We emphasized that “the government cannot exclude
from a public gathering in a public forum on no other basis        Second, it is undisputed that the Foundation's speech took
those citizens whose views it fears or dislikes or prevent their   place on a public sidewalk, a traditional public forum. The
peaceful expression of those views.” Id. at 1459.                  police arrested the Foundation's members when they chalked
                                                                   their message on the sidewalk, while allowing other speakers
 *10 The government may not enforce the laws in a                  to mark their messages on sidewalks and other public places.
manner that picks winners and losers in public debates. It         The District may regulate against defacement of public
would undermine the First Amendment's protections for free         property; however, it may not enforce its regulation in a
speech if the government could enact a content-neutral law         manner that discriminates on the basis of viewpoint.
and then discriminate against disfavored viewpoints under
the cover of prosecutorial discretion. See Hoye v. City of         We also emphasize the District has not attempted to support
Oakland, 653 F.3d 835, 854 (9th Cir. 2011) (recognizing the        dismissal at this stage by offering an affirmative defense to
importance of free speech selective enforcement claims lest        the Foundation's allegations that the defacement ordinance
First Amendment guarantees become “an empty formality”).           was selectively enforced in violation of the First Amendment.
Neutral regulations may reasonably limit the time, place, and      See Kim v. United States, 632 F.3d 713, 719 (D.C. Cir. 2011)
manner of speech, but such regulations cannot be enforced          (“[A] complaint may be subject to dismissal under Rule 12(b)
based on the content or viewpoint of speech.                       (6) when an affirmative defense ... appears on its face.”)
                                                                   (quoting Jones v. Bock, 549 U.S. 199, 215, 127 S.Ct. 910, 166
                                                                   L.Ed.2d 798 (2007)). We do not question the District's interest
                                                                   in prohibiting defacement of public and private property.
B.
                                                                   The District, however, has suggested no interest, compelling
Applying this legal framework, we conclude the Foundation          or otherwise, to justify favoring the “Black Lives Matter”
has plausibly alleged the District abridged its members’ First     message over the “Black Pre-Born Lives Matter” message
Amendment rights by enforcing the defacement ordinance             when enforcing the ordinance.
on the basis of the content and viewpoint of their speech.
In particular, the District permitted individuals expressing       The government may not play favorites in a public
the “Black Lives Matter” message to violate the defacement         forum—permitting some messages and prohibiting others.
ordinance, as evidenced by the widespread painting, graffiti,      We conclude the Foundation has plausibly alleged the
and other defacement on public sidewalks, streets, and             District's selective enforcement of the defacement ordinance
buildings, and on private property. By making no arrests, the



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constituted viewpoint discrimination in a public forum in         protection guarantee. See, e.g., Yick Wo v. Hopkins, 118
violation of the First Amendment.                                 U.S. 356, 366, 374, 6 S.Ct. 1064, 30 L.Ed. 220 (1886)
                                                                  (holding enforcement of a California ordinance—governing
                                                                  the use of wooden buildings as laundromats—solely against
                                                                  Chinese owners violated the Equal Protection Clause). Yet
C.
                                                                  not all selective enforcement claims are equal protection
 *11 The District does not substantially contest the First        challenges. In addition to the cases already cited, numerous
Amendment analysis set forth above. Instead, the District         decisions of the Supreme Court and our sister circuits have
maintains the Foundation's selective enforcement claim must       recognized that selective enforcement of the laws may run
be assessed under the equal protection guarantee of the Fifth     afoul of various specific constitutional guarantees.8 The
Amendment. The District maintains that, in the context of         First Amendment prohibits viewpoint discrimination by the
selective enforcement, First Amendment and equal protection       government, and we should not shoehorn the Foundation's
standards are essentially the same and that under either          free speech claim into the equal protection framework.9
framework the Foundation must plausibly allege intentional        The First Amendment and equal protection standards are
discrimination. The District's arguments are at odds with         conceptually and doctrinally distinct.
Supreme Court and circuit precedent, which recognize that a
plaintiff may bring a selective enforcement claim under the        *12 It follows that to make out a First Amendment selective
First Amendment for a violation of free speech rights. Such       enforcement claim, the Foundation is not required to allege
claims are distinct from equal protection claims and do not       discriminatory intent. Viewpoint discrimination violates the
require a plaintiff to demonstrate intentional discrimination.    First Amendment, “regardless of the government's benign
                                                                  motive ... or lack of animus toward the ideas contained
                                                                  in the regulated speech.” Reed v. Town of Gilbert, 576
1.                                                                U.S. 155, 165, 135 S.Ct. 2218, 192 L.Ed.2d 236 (2015)
                                                                  (cleaned up). “Innocent motives do not eliminate the danger
The Supreme Court has recognized that selective enforcement       of censorship.” Id. at 167, 135 S.Ct. 2218. The Supreme Court
of a content-neutral law may violate the First Amendment.7        has “long recognized that even regulations aimed at proper
See, e.g., Wayte, 470 U.S. at 610, 105 S.Ct. 1524; Thomas, 534    governmental concerns can restrict unduly the exercise of
U.S. at 325, 122 S.Ct. 775; cf. Masterpiece Cakeshop, Ltd. v.     rights protected by the First Amendment” and “no evidence
Colo. C.R. Comm'n, ––– U.S. ––––, 138 S. Ct. 1719, 1732,          of an improper censorial motive” is necessary to demonstrate
201 L.Ed.2d 35 (2018) (“The Commission's hostility was            a violation. Simon & Schuster, Inc. v. Members of the N.Y.
inconsistent with the First Amendment's guarantee that our        State Crime Victims Bd., 502 U.S. 105, 117, 112 S.Ct. 501,
laws be applied in a manner that is neutral toward religion.”).   116 L.Ed.2d 476 (1991) (cleaned up); see also Turner Broad.
In Wayte, when plaintiffs challenged an enforcement policy        Sys. v. FCC, 512 U.S. 622, 642–43, 114 S.Ct. 2445, 129
on both First Amendment and equal protection grounds, the         L.Ed.2d 497 (1994) (“Nor will the mere assertion of a content-
Court addressed the claims separately, on their own terms.        neutral purpose be enough to save a law which, on its face,
470 U.S. at 610–14, 105 S.Ct. 1524; see also id. at 610,          discriminates based on content.”).
105 S.Ct. 1524 (considering the challenge to the “passive
enforcement policy directly on First Amendment grounds”).         Accordingly, we reject the District's argument that
As already discussed, this circuit has recognized the validity    discriminatory motive is required for a First Amendment
of a First Amendment selective enforcement claim without          selective enforcement claim. A First Amendment challenge
substantial elaboration. See, e.g., Zukerman, 961 F.3d at 435;    to speech-infringing enforcement, as with speech-infringing
Mahoney, 105 F.3d at 1456. Perhaps little elaboration has         regulation, requires no allegation of bad motive. See NAACP
been necessary in light of the well-established principles that   v. Button, 371 U.S. 415, 439, 83 S.Ct. 328, 9 L.Ed.2d
the First Amendment prohibits viewpoint discrimination by         405 (1963) (“In the domain of ... speech ... abridgment of
the government and that such prohibition applies to executive     such rights, even though unintended, may inevitably follow
action, no less than legislative action.                          from varied forms of governmental action.”) (cleaned up). A
                                                                  benign purpose does not defeat a claim that the government
Several seminal selective enforcement cases have involved         has selectively enforced the laws in violation of the First
racial discrimination and the Fourteenth Amendment's equal        Amendment.10


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While a free speech selective enforcement claim does not             *13 The Ninth Circuit considered a policy of enforcing
require an allegation of invidious purpose, we recognize the        a buffer zone around an abortion clinic with respect to
District's concerns that selective enforcement claims may           speech that discouraged clinic access but not enforcing as
impair enforcement efforts in “challenging circumstances”           to speech that facilitated access. Hoye, 653 F.3d at 840.
that require “difficult decisions about allocating limited          The court found the city's “implementation and enforcement
police resources and prioritizing public safety.” Such              of the Ordinance” was “indubitably content-based.” Id. at
concerns are mitigated, however, by the reality that selective      852. And it recognized that plaintiffs may raise “challenges
enforcement claims will often be difficult to establish.            to the content-discriminatory enforcement of content-neutral
Selective enforcement claims are cabined by the requirement         rules.” Id. at 854. Although the Ninth Circuit had sometimes
that a plaintiff demonstrate he is similarly situated to            classified these claims as equal protection claims based
others against whom the law was not enforced. See                   on free speech protections, the court maintained that
supra Part III. And liability under section 1983 requires           any distinction between its approach and the “as-applied”
identifying an unconstitutional government policy or practice.      approach of the First Circuit was “semantic rather than
These requirements allow courts to review unconstitutional          substantive.” Id. at 855. For a selective enforcement claim,
selective enforcement claims without second-guessing                a plaintiff must demonstrate the content-based discrimination
decisions based on prosecutorial discretion.                        was “the result of an intentional policy or practice,” shown
                                                                    “by extrapolating from a series of enforcement actions.” Id.
                                                                    The court drew this standard from the custom or policy
                                                                    requirement under Monell. See id. (citing cases applying
2.
                                                                    Monell). In the end, the Ninth Circuit declined to choose a
Our conclusion that a First Amendment selective enforcement         “doctrinal category” for the claims because the City had a
claim is distinct from an equal protection claim is consistent      content-based policy of enforcement, and “[t]hat policy [was]
with decisions from our sister circuits, although the doctrinal     unconstitutional, no matter the analytical approach taken.” Id.
                                                                    at 856.
labels have varied.11 For instance, the First Circuit recognized
a claim rooted in “the idea that the law ... ha[d] been enforced
                                                                    The decisions of the First and Ninth Circuits do not support
selectively in a viewpoint discriminatory way.” McGuire v.
                                                                    the District's claim that the Foundation must allege invidious
Reilly, 386 F.3d 45, 61 (1st Cir. 2004) (citing Thomas, 534
                                                                    discriminatory intent. For the purpose of the Foundation's
U.S. at 325, 122 S.Ct. 775). “The exact claim is that in practice
                                                                    First Amendment selective enforcement claim, the District's
the government has engaged in viewpoint discrimination by
                                                                    motive for discriminating based on viewpoint is irrelevant.
failing to enforce the statute against ... pro-abortion/pro-
choice views ... while enforcing the statutory prohibitions
                                                                    ***
against those in the same position who express anti-abortion/
pro-life views.” Id. at 62. The First Circuit labeled this an
                                                                    Viewpoint discrimination, whether by legislative enactment
“as-applied” challenge of a special type and explained it was
                                                                    or executive action, violates the First Amendment. “Once
“exactly the same as a claim that discriminatory enforcement
                                                                    a forum is opened up to assembly or speaking by some
of a statute has led to viewpoint discrimination.” Id. at 61
                                                                    groups, government may not prohibit others from assembling
n.5. The court specifically declined to resolve whether a
                                                                    or speaking.” Police Dep't of Chi. v. Mosley, 408 U.S. 92,
plaintiff must demonstrate intent to discriminate under the
                                                                    96, 92 S.Ct. 2286, 33 L.Ed.2d 212 (1972). We hold the
First Amendment. Id. at 63 (opining that “some showing
                                                                    Foundation has plausibly alleged the elements of a free
of intent ... probably is necessary” but not resolving the
                                                                    speech selective enforcement claim. We may reasonably infer
issue). Instead, the court concluded that to prevail on a
                                                                    from the Foundation's complaint, first, that its members
First Amendment selective enforcement challenge a plaintiff
                                                                    were similarly situated to other protesters who were not
“would need to show ‘a pattern of unlawful favoritism.’
                                                                    arrested and, second, that the District engaged in viewpoint
” Id. at 64 (quoting Thomas, 534 U.S. at 325, 122 S.Ct.
                                                                    discrimination by enforcing the defacement ordinance against
775). McGuire does not support the District's argument
                                                                    individuals chalking “Black Pre-Born Lives Matter” but
that a necessary element of a First Amendment selective
                                                                    not against individuals painting and chalking “Black Lives
enforcement claim is proof of “intentional discrimination
                                                                    Matter.”
based on the content” of the Foundation's message.


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                                                                   with” an intention to suppress pro-life speech. But “[w]here
                                                                   a complaint pleads facts that are merely consistent with
                                                                   a defendant's liability, it stops short of the line between
V.
                                                                   possibility and plausibility of entitlement to relief.” Iqbal,
The Foundation, in the alternative, frames its selective           556 U.S. at 678, 129 S.Ct. 1937 (cleaned up). Invidious
enforcement claim in terms of equal protection. To the extent      discrimination “requires more than intent as volition or intent
a separate equal protection claim for viewpoint discrimination     as awareness of consequences.” Id. at 676, 129 S.Ct. 1937
arises under the Fifth Amendment, the Foundation has failed        (cleaned up). The Foundation needs evidence the District was
                                                                   motivated by the desire to suppress some views and raise up
to allege an essential element—purposeful discrimination.12
                                                                   others. That Mayor Bowser holds a different political or moral
Even taking the facts in the light most favorable to the
                                                                   position about abortion than the Foundation is insufficient
Foundation, we find it has not put forward plausible evidence
                                                                   to infer discriminatory motive by the District. Government
of the District's animus.
                                                                   officials may express a range of political viewpoints without
                                                                   running afoul of the First Amendment. See Matal, 582 U.S.
The Fifth Amendment Due Process Clause has been
                                                                   at 234, 137 S.Ct. 1744.
understood to include an equal protection component that
applies to the District of Columbia. See Bolling v. Sharpe, 347
                                                                   Second, the Foundation alleges the District singled out and
U.S. 497, 499, 74 S.Ct. 693, 98 L.Ed. 884 (1954); Dixon v.
                                                                   “targeted the Plaintiffs’ ... pro-life beliefs.” The complaint,
District of Columbia, 666 F.3d 1337, 1339 (D.C. Cir. 2011).
                                                                   however, states that 22 other arrests were made for violations
This guarantee of equal protection includes a prohibition on
                                                                   of the defacement ordinance in the second half of 2020,
“selective enforcement of the law” based on impermissible
                                                                   and the Foundation does not allege these arrests were
considerations “such as race.” Whren v. United States, 517
                                                                   also, or predominantly, against pro-life speech. In fact,
U.S. 806, 813, 116 S.Ct. 1769, 135 L.Ed.2d 89 (1996).
                                                                   the complaint contains no allegations whatsoever about the
The requirements for a selective enforcement claim are the
                                                                   specific content of the speech in these other enforcement
same as those under “ordinary equal protection standards.”
                                                                   actions. These allegations are insufficient to show pro-life
Armstrong, 517 U.S. at 465, 116 S.Ct. 1480 (cleaned up).
                                                                   beliefs were targeted by the District for the purpose of
The plaintiff must demonstrate that the decision to enforce
                                                                   invidious discrimination. See Armstrong, 517 U.S. at 468,
“had a discriminatory effect and ... was motivated by a
                                                                   116 S.Ct. 1480. If anything, the evidence in the complaint
discriminatory purpose.” Id. (cleaned up).
                                                                   suggests the District continued to enforce the defacement
                                                                   ordinance against a variety of groups.
In the context of an equal protection selective enforcement
claim, a plaintiff must show that others similarly situated were
                                                                   Third, the Foundation argues there is “direct evidence of
not prosecuted and that the prosecution was motivated by
                                                                   discriminatory intent” because the District acted to preserve
invidious discrimination. See Wayte, 470 U.S. at 608, 105
                                                                   some Black Lives Matter protest art. The Foundation claims
S.Ct. 1524; Juluke v. Hodel, 811 F.2d 1553, 1561 (D.C. Cir.
                                                                   “[t]his bid to take ownership of and share certain speech
1987) (citing Wayte). Invidious discrimination means taking
                                                                   shows the District's preference for favored viewpoints and
an action “because of, not merely in spite of, its adverse
                                                                   is direct evidence of discrimination.” But while the First
effects upon an identifiable group.” Iqbal, 556 U.S. at 681,
                                                                   Amendment prevents unlawful favoritism by the government,
129 S.Ct. 1937 (cleaned up). In other words, for its equal
                                                                   it “does not limit the government as speaker.” PETA v. Gittens,
protection claim, the Foundation must plausibly plead the
                                                                   414 F.3d 23, 28 (D.C. Cir. 2005). We will not infer favoritism
District's enforcement decisions were rooted in “animus”
                                                                   for certain viewpoints from government speech. Choosing to
against the Foundation's viewpoint. See DHS v. Regents of
                                                                   preserve works of art expressing one viewpoint is not, on
Univ. of Cal., ––– U.S. ––––, 140 S. Ct. 1891, 1915, 207
                                                                   its own, evidence of purposeful discrimination against other
L.Ed.2d 353 (2020).
                                                                   viewpoints.
 *14 The kind of evidence offered by the Foundation does
                                                                   At bottom, the Foundation alleges the District disagrees
not support an inference of invidious discrimination. First,
                                                                   with the Foundation's pro-life viewpoint—but government
the complaint points to Mayor Bowser's public support
                                                                   speech does not inevitably give rise to government animus.
of Planned Parenthood “and its ‘pro-choice’ agenda.” The
                                                                   Assuming there is an independent viewpoint discrimination
Foundation maintains these political positions are “consistent


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claim under the Fifth Amendment's equal protection                 violations of the defacement ordinance, and were involved in
guarantee, the Foundation has not sufficiently alleged the         the ubiquitous non-enforcement of the ordinance against the
requisite discriminatory purpose.                                  many individuals who expressed their message on sidewalks,
                                                                   streets, and other property. The Foundation also alleges one
                                                                   officer stated Mayor Bowser effectively opened up the streets
                                                                   to protest messages.
VI.

The Foundation has advanced a predicate First Amendment            It is also plausible District policymakers were involved in
selective enforcement violation. To establish the District's       the continued enforcement of the ordinance against other
liability under Monell, the Foundation must also plausibly         groups, including the Foundation. The Foundation sought a
allege the violation was pursuant to an official custom or         permit from the District and spoke with an officer specifically
policy. We hold that it has.                                       about painting a mural on the street. At the same time,
                                                                   the Foundation sent a letter to Mayor Bowser requesting
Local governments are responsible only “for their own illegal      permission to paint its message. The police department and
acts.” Pembaur v. City of Cincinnati, 475 U.S. 469, 479, 106       the Chief of Police were copied on the letter. Although
S.Ct. 1292, 89 L.Ed.2d 452 (1986). They cannot be held             neither Mayor Bowser nor the police department responded
vicariously liable for their employees’ actions. Connick v.        to the letter, the District granted the permit, which was
Thompson, 563 U.S. 51, 60, 131 S.Ct. 1350, 179 L.Ed.2d             signed by the Commander of the police department's Special
417 (2011). Therefore, to show a local government has              Operations Division. And on the day of the event six police
“acted” for the purposes of section 1983, the Foundation           cars and a number of officers were waiting. The police officers
must plausibly allege the enforcement at issue was “pursuant       informed the Foundation's members that if they chalked on
to official municipal policy.” Monell, 436 U.S. at 691,            the sidewalk, they would be arrested. Such a coordinated and
98 S.Ct. 2018. Official policies include “the decisions of         immediate police response to the Foundation's rally could
a government's lawmakers, the acts of its policymaking             certainly have been the work of policymakers.
officials, and practices so persistent and widespread as to
practically have the force of law.” Connick, 563 U.S. at           At a minimum, it is plausible at this stage that the District
61, 131 S.Ct. 1350. Plaintiffs may allege an official policy       “knew or should have known of the risk of constitutional
by showing the government has failed to respond to a risk          violations” and yet deliberately failed to act. See Baker,
that constitutional rights will be violated “in such a manner      326 F.3d at 1307. The alleged facts “raise a reasonable
as to show ‘deliberate indifference’ to the risk.” Baker           expectation that discovery will reveal evidence” either that the
v. District of Columbia, 326 F.3d 1302, 1306 (D.C. Cir.            Special Operations Commander is a policymaker or that other
2003). Determining plausibility is a “context-specific task        policymakers like the Mayor were involved in exempting
that requires the reviewing court to draw on ... common            individuals who expressed “Black Lives Matter” messages
sense.” Iqbal, 556 U.S. at 679, 129 S.Ct. 1937.                    from the defacement ordinance and continuing to enforce the
                                                                   ordinance against speakers of other messages. Bell Atl. Corp.
 *15 We may infer that District policymakers were behind           v. Twombly, 550 U.S. 544, 556, 127 S.Ct. 1955, 167 L.Ed.2d
the uniform and unexplained policy exempting individuals           929 (2007).
expressing “Black Lives Matter” from enforcement of the
defacement ordinance. The sheer scope of non-enforcement           Furthermore, the Foundation has alleged facts suggesting
supports the Foundation's claim that policymakers promoted         the District's exemption from enforcement for a favored
or at least allowed an exemption for a favored viewpoint. The      viewpoint was “persistent and widespread.” See Connick, 563
Black Lives Matter protests in the District were part of an        U.S. at 61, 131 S.Ct. 1350. Officers were present during many
ongoing, large-scale, national demonstration. People flooded       of the Black Lives Matter protests. The officers watched as
onto the streets in a protest that included painting and marking   thousands of messages were painted on the streets, sidewalks,
of “Black Lives Matter” messages on public and private             and other public and private property. Yet not a single
property. Mayor Bowser commissioned a large street mural           person was arrested for numerous and clear violations of
proclaiming “Black Lives Matter.” It is certainly plausible        the defacement ordinance. The unvarying non-enforcement,
that policymaking officials in the District were aware of the      against large and small acts of defacement, over a period
Black Lives Matter protests and the widespread and ongoing



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of weeks, was “persistent and widespread” and so plausibly        prohibit the defacement of public and private property with
constituted a custom or policy for Monell liability. See id.      any and all messages. The constitutional violation alleged
                                                                  here is the selective enforcement of the ordinance based on
The District argues there is no evidence of a custom or           the message of the speakers.
practice of enforcing the ordinance “against disfavored
messages” and emphasizes the complaint failed to “allege any      As we have recognized in the selective enforcement context,
other instances where the speech of anti-abortion or other        courts have discretion to fashion injunctive relief. Zukerman
religious groups was targeted for enforcement beyond their        v. USPS, 64 F.4th 1354, 1365 (D.C. Cir. 2023). Such relief
own rallies.” But that is not what the Foundation must allege.    must be tailored to address any unconstitutional selectivity,
To make out a First Amendment violation, it is sufficient         not enforcement altogether. Therefore, the district court's
the District had a policy of exempting a favored view while       concern that the District will end up “awash in paint” is
continuing to enforce the ordinance against everyone else. See    misplaced. See Frederick Douglass Found., 531 F. Supp. 3d
Thomas, 534 U.S. at 325, 122 S.Ct. 775 (“Granting waivers         at 345. The District may open up its streets for painting
to favored speakers ... would of course be unconstitutional.”).   messages of all viewpoints; and the District may later decide
Such an exemption—even in a single, protracted instance—          to enforce its defacement ordinance against all viewpoints.
may be sufficient to state a claim under Monell. See Pahls v.     What the District cannot do consistent with the First
Thomas, 718 F.3d 1210, 1216 (10th Cir. 2013) (holding a First     Amendment is open its streets for the painting of some
Amendment claim can survive summary judgment even when            messages and not others. The precise contours of any remedy
the government selectively enforced the law on a single day).     must be left in the first instance to the judgment of the district
                                                                  court.
 *16 We therefore disagree with the district court's holding
that the Foundation failed to allege a policy of selective        ***
enforcement under Monell. The Foundation has more than
plausibly alleged a “persistent and widespread” District          The First Amendment prohibits the government from
practice of selective non-enforcement against those who           favoring some speakers over others. Access to public fora
marked and painted “Black Lives Matter” messages.                 must be open to everyone and to every message on the same
                                                                  terms. The District may act to prevent the defacement of
                                                                  public property, but it cannot open up its streets and sidewalks
                                                                  to some viewpoints and not others. During the summer of
VII.
                                                                  2020, the District arrested individuals chalking “Black Pre-
Finally, we say a brief word to clear up confusion expressed      Born Lives Matter” on the sidewalk, while making no arrests
by the district court and the parties about appropriate           against the many individuals marking “Black Lives Matter”
remedies for a successful selective enforcement claim. The        on sidewalks, streets, and other property. The Foundation has
Foundation seeks a declaratory judgment, actual and nominal       plausibly alleged that its members were similarly situated
damages, and injunctive relief. A judgment declaring the          to individuals against whom the defacement ordinance was
District's selective enforcement of the ordinance violated the    not enforced, and that the District discriminated on the basis
First Amendment and an award of damages, even nominal             of viewpoint when enforcing the ordinance. Because the
damages, might be sufficient to redress the Foundation's          Foundation has failed to adequately allege animus on the part
injuries. See Uzuegbunam v. Preczewski, ––– U.S. ––––, 141        of the District, however, its equal protection challenge fails.
S. Ct. 792, 796, 209 L.Ed.2d 94 (2021).
                                                                   *17 For the foregoing reasons, we reverse the dismissal
Some type of injunctive relief may also be appropriate            of the First Amendment free speech claim, affirm dismissal
to redress selective enforcement. The Foundation suggests         of the equal protection claim, and remand for further
the court should grant “permanent injunctive relief against       proceedings consistent with this opinion.
the Defacement Ordinance as applied to Plaintiffs.” But
we reject the Foundation's characterization of its claim as       So ordered.
an “as-applied” First Amendment challenge. The District's
defacement ordinance is not unconstitutional “as applied” to
                                                                  Wilkins, Circuit Judge, concurring in the judgment:
the Foundation's pro-life speech because the District may



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                                                                     in a public forum is sufficient to state a claim and move
I concur in the result reached by the majority, but I do so by
                                                                     forward to discovery and briefing on the compelling interest
a slightly different path.
                                                                     and narrowly tailored aspects of the analysis. See Zukerman
I agree that we should reverse the dismissal of the First            v. U.S. Postal Serv., 961 F.3d 431, 446 (D.C. Cir. 2020).
Amendment claim. The government is wrong to suggest,
see Appellee Br. 31-33, that the Foundation cannot properly          The Fifth Amendment selective prosecution claim is a
plead an as-applied First Amendment violation based on               different matter. “To establish selective prosecution, the
                                                                     [plaintiff] must ‘prove that (1) [it] was singled out for
viewpoint discrimination. See Nat'l Endowment for the Arts v.
                                                                     prosecution from among others similarly situated and (2) that
Finley, 524 U.S. 569, 587, 118 S.Ct. 2168, 141 L.Ed.2d 500
                                                                     [the] prosecution was improperly motivated, i.e., based on
(1998) (acknowledging that even though the case involved a
                                                                     race, religion or another arbitrary classification.’ ” Branch
facial challenge to the grant-making regulation, a case could
arise involving “an as-applied challenge ... where the denial        Ministries v. Rossotti, 211 F.3d 137, 144 (D.C. Cir. 2000)
of a grant may be shown to be the product of invidious               (first alteration added) (quoting United States v. Washington,
viewpoint discrimination”). The government concedes that             705 F.2d 489, 494 (D.C. Cir. 1983)); see also United States
the complaint alleges the Foundation was denied a permit to          v. Mangieri, 694 F.2d 1270, 1273 (D.C. Cir. 1982); Att'y
write its message in a public forum. See Appellee Br. 28. “In        Gen. v. Irish People, Inc., 684 F.2d 928, 932 (D.C. Cir.
a public forum, by definition, all parties have a constitutional     1982). The similarly situated requirement is an exceedingly
right of access and the state must demonstrate compelling            high bar to meet. The Foundation must plead, in a plausible
reasons for restricting access to a single class of speakers,        and non-conclusory fashion, that “their circumstances present
a single viewpoint, or a single subject.” Perry Educ. Ass'n          no distinguishable legitimate prosecutorial factors that might
v. Perry Loc. Educators’ Ass'n, 460 U.S. 37, 55, 103 S.Ct.           justify making different prosecutorial decisions with respect
948, 74 L.Ed.2d 794 (1983). Here, the Foundation has made            to them.” See Branch Ministries, 211 F.3d at 146 (quoting
specific, non-conclusory allegations that the defacement             United States v. Hastings, 126 F.3d 310, 315 (4th Cir.
statute was enforced against it in a public forum, while it          1997)). Here, one such distinction appears on the face of the
was not enforced against others writing competing messages           complaint: the Foundation requested permission to deface the
in the same forum during the same set of protests. In my             public property, while those who were not prosecuted did not
view, even though the Foundation must meet the high bar              apply for permits. J.A. 70–72. The Supreme Court expressly
of pleading purposeful discrimination to prevail on its First        rejected the selective prosecution claim in Wayte v. United
Amendment claim, see Ashcroft v. Iqbal, 556 U.S. 662, 676–           States, on the basis that persons who reported themselves
77, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009), the high standard        or who were reported by others as having broken the law
is met here. It is at least plausible that “[w]hen government        were prosecuted, while persons who did not report themselves
officials target speech because of ‘particular views taken by        or who were not reported by others were not prosecuted.
speakers on a subject,’ viewpoint discrimination is afoot.”          470 U.S. 598, 608–09, 105 S.Ct. 1524, 84 L.Ed.2d 547
Pahls v. Thomas, 718 F.3d 1210, 1230 (10th Cir. 2013)                (1985). Thus, the fact that the Foundation “self reported” its
(emphasis in original) (quoting Rosenberger v. Rector &              planned defacement by applying for a permit is a legitimate
Visitors of Univ. of Va., 515 U.S. 819, 829, 115 S.Ct. 2510,         prosecutorial factor under Wayte. Similarly, Wayte teaches
132 L.Ed.2d 700 (1995)). See also Wood v. Moss, 572 U.S.             that the self reporting is also a distinguishing factor that fatally
744, 756–57, 134 S.Ct. 2056, 188 L.Ed.2d 1039 (2014) (“It is         undermines the selective prosecution claim. Therefore, the
uncontested and uncontestable that government officials may          dismissal of the Fifth Amendment claim is properly affirmed.
not exclude from public places persons engaged in peaceful
expressive activity solely because the government actor fears,       All Citations
dislikes, or disagrees with the views those persons express.”).
Therefore, I believe that alleging viewpoint discrimination          --- F.4th ----, 2023 WL 5209556


Footnotes
1      “It shall be unlawful for any person or persons willfully and wantonly to disfigure, cut, chip, or cover, rub with, or otherwise
       place filth or excrement of any kind upon; to write, mark, or print obscene or indecent figures representing obscene
       or objects upon [sic]; to write, mark, draw, or paint, without the consent of the owner or proprietor thereof, or, in the




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       case of public property, of the person having charge, custody, or control thereof, any word, sign, or figure upon: (1)
       any property, public or private, building, statue, monument, office, public passenger vehicle, mass transit equipment or
       facility, dwelling or structure of any kind including those in the course of erection; or (2) the doors, windows, steps, railing,
       fencing, balconies, balustrades, stairs, porches, halls, walls, sides of any enclosure thereof, or any movable property.”
       D.C. Code § 22–3312.1.

2      The District's “Black Lives Matter” mural was government speech displayed on government controlled property, and
       therefore not part of the alleged violations of the defacement ordinance.

3      The defacement ordinance applies specifically to construction sites. See D.C. Code § 22–3312.1(1) (prohibiting marking
       on structures and buildings, “including those in the course of erection”).

4      While these principles have been articulated with respect to the Article II executive power vested in the President, the
       Mayor serves as the chief executive of the District of Columbia and is required to “take care that the laws be faithfully
       executed.” D.C. Code § 1–301.76; see also id. (“The Mayor of the District of Columbia may grant pardons.”).

5      The Supreme Court's decision in Wayte also does not foreclose or render implausible the Foundation's claims. Wayte
       involved a draft dodger who wrote several letters to the government proclaiming his refusal to register for the draft. 470
       U.S. at 601, 105 S.Ct. 1524. The Supreme Court upheld the government's passive enforcement policy of prosecuting
       only those who self-reported their draft-dodger status or were reported by others. Id. at 610, 105 S.Ct. 1524. Relying
       on Wayte, the District maintains it properly enforced the defacement ordinance against the Foundation based on self-
       reporting. But the District's comparison is inapposite. In Wayte, locating other draft dodgers was “difficult and costly.” Id.
       at 612, 105 S.Ct. 1524. Here, the officers were present and watching the defacement of property with “Black Lives Matter”
       messages. Unlike in Wayte, there was no legitimate prosecutorial reason to treat self-reporting differently in this case.
       Moreover, in resolving the First Amendment claim in Wayte, the Court did not rely on the similarly situated requirement,
       but instead on the strong national security interest in enforcing the draft. Id. at 611, 105 S.Ct. 1524. The District has
       offered no compelling government interest in selectively enforcing the defacement ordinance against individuals writing
       small pro-life messages in washable chalk.

6      See, e.g., Nieves v. Bartlett, ––– U.S. ––––, 139 S. Ct. 1715, 1720, 204 L.Ed.2d 1 (2019) (First Amendment retaliation
       claim against two police officers who arrested petitioner for disorderly conduct and resisting arrest); Hartman v. Moore,
       547 U.S. 250, 254, 256, 126 S.Ct. 1695, 164 L.Ed.2d 441 (2006) (Bivens action against postal inspectors for inducing
       a prosecution in retaliation for speech); cf. Shrum v. City of Coweta, 449 F.3d 1132, 1140 (10th Cir. 2006) (McConnell,
       J.) (holding “the First Amendment applies to exercises of executive authority no less than it does to the passage of
       legislation,” a principle that the Supreme Court has “assumed on countless occasions”).

7      We appreciate that our cases have not always clearly delineated the elements of a free speech selective enforcement
       claim. For instance, the district court relied on a passing comment that “[s]elective enforcement is not, of course, a
       First Amendment cause of action; rather, ... it lies in a murky corner of equal protection law.” Sanjour v. EPA, 56 F.3d
       85, 92 n.9 (D.C. Cir. 1995) (en banc) (cleaned up); accord Frederick Douglass Found., 531 F. Supp. 3d at 327. The
       observation in Sanjour was dicta, however, as we did not decide the plaintiffs’ selective enforcement claim. We also
       explained that a selective enforcement claim “may involve determining whether [the] plaintiff was in fact attempting to
       exercise constitutionally protected rights, including First Amendment rights.” Sanjour, 56 F.3d at 92 n.9.

8      See, e.g., Arcara v. Cloud Books, Inc., 478 U.S. 697, 707 n.4, 106 S.Ct. 3172, 92 L.Ed.2d 568 (1986) (explaining a “speech
       suppressive motivation or policy on the part of the District Attorney” could lead to “a claim of selective prosecution”);
       McCullen, 573 U.S. at 484, 134 S.Ct. 2518 (recognizing “selective enforcement” of an ordinance “might state a claim
       of official viewpoint discrimination”); Spence v. Washington, 418 U.S. 405, 414 n.9, 94 S.Ct. 2727, 41 L.Ed.2d 842
       (1974) (per curiam) (stating the possibility of “selective enforcement” of a state statute prohibiting altered U.S. flags);
       Cameron v. Johnson, 390 U.S. 611, 622, 88 S.Ct. 1335, 20 L.Ed.2d 182 (1968) (addressing and rejecting on the merits
       an argument that an anti-picketing statute was selectively enforced); Juluke v. Hodel, 811 F.2d 1553, 1561 (D.C. Cir.
       1987) (entertaining a selective enforcement claim under the First Amendment); Tenafly Eruv Ass'n v. Borough of Tenafly,
       309 F.3d 144, 151, 168 (3d Cir. 2002) (holding plaintiffs were likely to succeed on their Free Exercise claim for selective




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       enforcement of a facially neutral ordinance); Fla. Transp. Servs. v. Miami-Dade Cnty., 703 F.3d 1230, 1234–35 (11th Cir.
       2012) (finding a dormant Commerce Clause violation for discriminatory enforcement of a facially constitutional ordinance).

9      “[L]aws that classify persons in terms of their abilities to exercise rights that have specific recognition in the first eight
       Amendments do not generally arise as equal protection issues. In these instances the denial of the right to one class of
       persons is likely to be held a violation of the specific guarantee without any need to resort to equal protection analysis.”
       Ronald D. Rotunda & John E. Nowak, Treatise on Constitutional Law: Substance and Procedure § 18.39 (5th ed. 2013).

10     The District relies on American Freedom Defense Initiative v. Washington Metropolitan Area Transit Authority, where we
       required the plaintiff to show, as evidence of viewpoint discrimination, that “the Government acted in order to suppress a
       disfavored view.” 901 F.3d 356, 365 (D.C. Cir. 2018). That case is readily distinguishable because it involved a particular
       kind of First Amendment challenge. The transit authority banned all issue-oriented advertising soon after the plaintiff
       sought to run advertisements depicting the Prophet Muhammad in Metrorail stations and on Metrobus exteriors. Id. at 360.
       When a ban is facially neutral and enforced neutrally, a showing of intentional discrimination is required to demonstrate
       pretext.

11     The district court found “other Courts of Appeals are divided over how to categorize claims in which law enforcement is
       alleged to have selectively enforced restrictions on speech-related activities based on viewpoint.” Likewise, the parties
       contest the proper categorization of the claims on appeal, relying on out-of-circuit cases.

12     As explained in the foregoing Part, we recognize a separate First Amendment selective enforcement claim that requires
       no showing of animus.



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      Attachment 2
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                                                                      *642 Appeal from the United States District Court for the
                        75 F.4th 638
                                                                     Eastern District of Michigan at Flint. No. 4:20-cv-12441—
        United States Court of Appeals, Sixth Circuit.
                                                                     Shalina D. Kumar, District Judge.

         Janice BROWN, Plaintiff-Appellee,                           Attorneys and Law Firms
                         v.
                                                                     ARGUED: Adam R. de Bear, OFFICE OF THE MICHIGAN
          Andrew KNAPP; Ken Shingleton;                              ATTORNEY GENERAL, Lansing, Michigan, for Appellants.
             Bryce Willoughby; Thomas                                Austin Porter, Jr., PORTER LAW FIRM, Little Rock,
                                                                     Arkansas, for Appellee. ON BRIEF: Adam R. de Bear, John
          Dhooghe, Defendants-Appellants.
                                                                     G. Fedynsky, OFFICE OF THE MICHIGAN ATTORNEY
                                                                     GENERAL, Lansing, Michigan, for Appellants. Austin
                         No. 22-1973
                                                                     Porter, Jr., PORTER LAW FIRM, Little Rock, Arkansas, for
                               |
                                                                     Appellee.
                    Argued: June 13, 2023
                               |                                     Before: KETHLEDGE, STRANCH, and MATHIS, Circuit
                Decided and Filed: July 28, 2023                     Judges.

Synopsis
Background: Arrestee brought § 1983 action against police
officers, alleging violations of Fourth Amendment arising            OPINION
from arrest without warrant and failure to hold probable
                                                                     JANE B. STRANCH, Circuit Judge.
cause hearing. The United States District Court for the
Eastern District of Michigan, Shalina D. Kumar, J., 2022              *643 In September 2018, Michigan State Police officers
WL 4541621, denied officers' motion for summary judgment             arrested Janice Brown without a warrant for alleged witness
based on qualified immunity. Officers appealed.                      intimidation. She was jailed for approximately 96 hours and
                                                                     was not brought before a judge for a probable cause hearing
                                                                     during that time. None of the officers involved in her arrest
Holdings: The Court of Appeals, Jane B. Stranch, Circuit             requested a warrant or took any other action relating to her
Judge, held that:                                                    detention. Brown sued the officers for unreasonably seizing
                                                                     her without probable cause and detaining her without due
officers had probable cause for warrantless arrest for witness       process of law, in violation of the Fourth Amendment. The
intimidation in violation of Michigan law;                           officers moved for summary judgment based on qualified
                                                                     immunity. The district court denied their motion, and they
fact that particular officer did not physically perform the arrest   appealed. We AFFIRM in part and REVERSE in part.
at issue did not preclude officer from having obligation, under
Michigan law, to ensure arrestee received probable cause
hearing within 48 hours;                                             I. BACKGROUND

fact that multiple police officers were involved in arrest did          A. Factual Background
not constitute extraordinary circumstances that could merit          In 2017, Michigan State Police (MSP) detectives Kenneth
detention of arrestee past 48 hours without probable cause           Shingleton and Thomas Dhooghe were assigned to
hearing; and                                                         investigate a cold case, the 2011 killing of LeAnn Bates. The
                                                                     two learned that, the night of her murder, Bates was in her
arrestee's right to probable cause determination within 48           home with a woman named Sheneen Jones, along with both
hours was clearly established.                                       of their boyfriends. At the time, Bates was dating Jones's
                                                                     cousin, who was best friends with Jones's boyfriend, Dale
                                                                     Reed Jr. Jones told the detectives that she and Bates had
Affirmed in part, reversed in part, and remanded.                    argued, then Bates grabbed a gun. Jones ran out of the house
                                                                     to get away and heard gunshots behind her. She did not see


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who had fired, but Reed rushed outside and told her to get in      Hanson yelled that Brown was bothering Jones, and Brown
the car. Jones said that, in the following days, she received a    went back into the courtroom.
threat that she would be killed by Reed's family. Jones's cousin
identified Reed as Bates's shooter, and in July 2018, Reed         Hanson called over the officer in charge, described what
was arrested and charged with homicide and related weapons         she had seen, and said that there was probable cause to
charges. Reed and Jones have a daughter together.                  arrest Brown. She does not remember whether she instructed
                                                                   an officer to arrest Brown, but Dhooghe testified that she
Plaintiff Janice Brown is Reed's mother. In September 2018,        told him to do so. The district court found it unclear
she traveled from her home in Arkansas to Michigan to attend       whether Dhooghe and Shingleton were both involved at
a court hearing in Reed's pending homicide case, which was         this point, or only Dhooghe. Brown says Hanson discussed
scheduled for September 11, 2018. Brown and the two MSP            the alleged intimidation with Dhooghe and Shingleton; the
detectives who had been assigned to the case, Shingleton and       MSP Defendants say Hanson spoke with Dhooghe only; and
Dhooghe, all attended the hearing. Jones had been named            Hanson testified that she did not remember who she spoke to.
as a witness in the state's case against Reed and received a
subpoena but did not appear to testify, and her cousin also        The parties similarly disagree as to which detective was
recanted his identification of Reed as the shooter. The court      present in the courtroom that day: Brown claims that
continued the hearing until September 14, 2018. After the          Shingleton approached her, whereas the MSP Defendants
hearing ended, Dhooghe overheard Reed's defense attorney           claim Dhooghe was present and Shingleton was not. Brown
tell Brown that “someone needs to talk to her.” Dhooghe and        remembered Shingleton from her earlier interaction with
Shingleton interpreted the statement as the attorney directing     him at Jones's house on September 11 because he had been
Brown to speak with Jones; Brown says that the attorney was        “hostile” towards her, and she believed him to be the person
explaining that someone needed to tell Jones she needed to         who approached her in the courtroom on September 14.
retain an attorney after failing to appear at the hearing.         Brown noted that Shingleton had authored a supplemental
                                                                   incident report about her arrest, dated September 19, 2018, “as
Later that same day, Shingleton and Dhooghe visited Jones's        if he was there” when she was arrested. Brown also testified
home to serve a *644 subpoena on her for the September             that, on September 14, she saw only one of the two detectives
14 hearing. When they arrived, Brown was there. The MSP            who she had met on September 11, and that she would not
detectives asked Brown why she was at Jones's house, and           be able to tell Shingleton and Dhooghe apart if they were
Brown said she was visiting her granddaughter. Brown left,         sitting next to each other. For his part, Dhooghe testified that
and the detectives asked Jones whether Brown was bothering         he was the detective present at Brown's arrest, which MSP
her or had offered her money not to testify. Jones denied both     officers Bryce Willoughby and Andrew Knapp confirmed,
but said she did not want to testify, and she continued to         and Shingleton similarly testified he was not present in court
express fear that “they” would kill her if she did, although       on September 14.
she did not identify who “they” were. Brown remained in
Michigan for the next few days, spending more time with            The district court did not resolve this question. It found that
Jones and her granddaughter.                                       one or both of the two MSP detectives confronted Brown in
                                                                   the courtroom and told her they thought she had not been
On September 14, Brown, Jones, and Jones's daughter arrived        visiting her granddaughter the day they saw her at Jones's
at the courthouse. Brown took her granddaughter into the           home because the granddaughter had been at school. Dhooghe
courtroom while Jones went into the prosecutor's office,           (who was scheduled to testify that morning) was in civilian
where she said she would not provide testimony implicating         clothes and lacked handcuffs, so he called his supervisor,
Reed. As Jones left the prosecutor's office and Brown exited       Detective Willoughby, for help. Approximately five minutes
the courtroom, Brown followed behind Jones. The assistant          later, Willoughby and Knapp entered the courtroom and
prosecutor assigned to Reed's case, Karen Hanson, testified        arrested Brown for witness intimidation.
that, at this time, she saw Brown following closely behind
Jones as Jones cried. According to Hanson, Brown was                *645 Willoughby and Knapp transported Brown to the Flint
yelling at Jones that she “couldn't go testify and she better      Police Department and filled out booking paperwork. Brown
not go in there.” Hanson claims it was the most aggressive         was booked into the Flint City jail, then transferred to the
attempt to get someone not to testify that she had ever seen.      Genesee County jail. At the time, the State of Michigan



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had an agreement to house people arrested by MSP at that             A district court's denial of qualified immunity is immediately
jail because MSP does not itself maintain any jail or other          appealable under the collateral order doctrine. See Rafferty
institution to incarcerate people pre-trial. After her arrest,       v. Trumbull County, 915 F.3d 1087, 1092 (6th Cir. 2019).
Dhooghe (and potentially Shingleton) returned to Jones's             But circuit courts can generally review a denial of qualified
home and asked if Brown had been intimidating her, but Jones         immunity “only ‘to the extent that it turns on an issue
did not wish to speak to them.                                       of law’—the appeal cannot be from a district court's
                                                                     determination that there is a genuine dispute of material
Brown was in jail for approximately 96 hours; during that            fact.” Brown v. Chapman, 814 F.3d 436, 444 (6th Cir. 2016)
time, she was not brought before a judge for a probable cause        (quoting *646 Mitchell v. Forsyth, 472 U.S. 511, 530,
hearing, and the MSP Defendants never requested a warrant            105 S.Ct. 2806, 86 L.Ed.2d 411 (1985)). Put another way,
for her arrest or took any other action relating to her detention.   “a determination that a given set of facts violates clearly
Hanson testified that her prosecutor's office typically waits        established law is reviewable, while a determination that an
for the arresting officers to submit a prosecutor's packet,          issue of fact is ‘genuine’ is unreviewable.” See v. City of
and without that packet, the prosecutor will not prepare a           Elyria, 502 F.3d 484, 490 (6th Cir. 2007) (quoting Johnson v.
warrant or proposed complaint needed for the probable cause          Jones, 515 U.S. 304, 313, 115 S.Ct. 2151, 132 L.Ed.2d 238
hearing. While Brown was incarcerated, the Genesee County            (1995)).
jail sent reports to MSP employees indicating that Brown
had remained in custody without a warrant or probable cause          We can “ignore the defendant's attempts to dispute the facts,”
hearing for over 48 hours. Brown claims that Shingleton              Est. of Carter v. City of Detroit, 408 F.3d 305, 310 (6th Cir.
received those reports; the MSP Defendants claim they went           2005), as long as the issues on appeal are purely legal and the
only to commanding officers, not the arresting officers.             defendant is “willing to concede the most favorable view of
Shingleton was not personally listed as an addressee of the          the facts to the plaintiff,” Barry v. O'Grady, 895 F.3d 440, 443
report that was emailed on September 15, 2018, though other          (6th Cir. 2018) (quoting Phelps v. Coy, 286 F.3d 295, 298 (6th
MSP recipients were. Brown was released on September                 Cir. 2002)). “The upshot is that, in most appeals of denials
18, 2018, “pending further investigation” under Shingleton's         of qualified immunity, we must defer to the district court's
orders.                                                              determinations of fact” and any inferences drawn therefrom.
                                                                     Barry, 895 F.3d at 443. We are not, however, categorically
As relevant to this appeal, Brown sued the MSP detectives            “limited to only the facts, evidence, or inferences that the
and troopers (collectively, the MSP Defendants) for violating        district court has stated expressly”; if the district court denies
her Fourth Amendment rights by unreasonably seizing her              a summary judgment motion without indicating its rationale
without probable cause and detaining her without due process         for doing so, we may undertake a “review of the record” to
of law.1 The MSP Defendants moved for summary judgment               determine the facts assumed. DiLuzio v. Village of Yorkville,
on the basis of qualified immunity; Brown moved for partial          796 F.3d 604, 611 (6th Cir. 2015); Johnson, 515 U.S. at
summary judgment on the issue of whether her Fourth                  319, 115 S.Ct. 2151. We may review a district court's factual
Amendment rights were violated by being held for over                determination only if it is “blatantly and demonstrably false,”
48 hours without a probable cause hearing. The district              Barry, 895 F.3d at 443 (quoting Austin v. Redford Twp. Police
court denied both motions, finding that the MSP Defendants           Dep't, 690 F.3d 490, 496 (6th Cir. 2012)), for example, if a
were not entitled to qualified immunity because they had             videotape of the events at issue so contradicts the nonmoving
collectively violated Brown's clearly established right to a         party's version of the record that “no reasonable jury could
prompt probable cause determination within 48 hours of her           believe” the nonmovant, Scott v. Harris, 550 U.S. 372, 380,
arrest. But because of the “complicated factual scenario”            127 S.Ct. 1769, 167 L.Ed.2d 686 (2007).
surrounding Brown's arrest, the court could not determine
at the summary judgment stage which MSP Defendant or                 The MSP Defendants explicitly concede the facts in the light
Defendants bore legal responsibility for violating her rights.       most favorable to Brown and claim to raise only purely legal
The MSP Defendants appealed.                                         issues. They argue that: (1) they did not violate Brown's right
                                                                     to be free from an arrest without probable cause; (2) they
                                                                     did not violate Brown's right to a prompt probable cause
                                                                     determination; and (3) there was no clearly established law
II. JURISDICTION                                                     governing their conduct with respect to Brown's detention.



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Broadly speaking, these appear to be legal questions properly       merits of a defendant's motion asserting qualified immunity
raised on appeal.                                                   is equivalent to a denial for purposes of appellate review,
                                                                    Summers v. Leis, 368 F.3d 881, 887 (6th Cir. 2004). “When, as
One last note before proceeding to the appeal's merits. The         here, a defendant raises qualified immunity as a defense, the
MSP Defendants would have us disregard the district court's         plaintiff bears the burden of demonstrating that the defendant
conclusion as to one factual issue and resolve it instead,          is not entitled to immunity.” Everson v. Leis, 556 F.3d 484,
namely, that it was disputed whether Shingleton was present         494 (6th Cir. 2009). And when more than one officer is
at the hearing or arrest on September 14, 2018. The MSP             involved, “the court must consider each officer's entitlement
Defendants argue, as they did below, that Shingleton did            to qualified immunity separately.” Smith v. City of Troy, 874
not witness Brown allegedly intimidating Jones, was not             F.3d 938, 944 (6th Cir. 2017) (per curiam). We address each
physically present at the time of her arrest, and became aware      of Brown's claims below.
of her arrest only on September 18, 2018, when the jail
contacted him and he ordered Brown's release. The MSP
Defendants describe Brown's position that Shingleton was               A. Brown's Arrest
present for and involved in her arrest as supported only by         The district court did not address the MSP Defendants’
“groundless belief.”                                                qualified immunity arguments as to Brown's claim that
                                                                    they violated her Fourth Amendment right to be free from
To be sure, the record on this question is mixed at best. Brown     arrest without probable cause. It noted only that Brown
says Shingleton was there on September 14, Shingleton and           “contest[ed]” the existence of probable cause to arrest her.
the other MSP Defendants say he was not, and Hanson                 Nevertheless, the district court denied the MSP Defendants’
does not remember whether she spoke with him that day.              motion for summary judgment in its entirety, implicitly
It is unsurprising that the parties’ recollections differ. But      addressing the issue of whether the MSP Defendants were
such differences do not render the record so one-sided as           entitled to qualified immunity on Brown's probable cause
to make the district court's conclusion “demonstrably false,”       claim and making it reviewable on appeal. See Freed v.
as is required for review on appeal. Barry, 895 F.3d at             Thomas, 976 F.3d 729, 741 (6th Cir. 2020).
440. There is no videotape or other evidence “blatantly”
contradicting either party's version of events. See Scott, 550      “[A] warrantless arrest by a law officer is reasonable under the
U.S. at 378-81, 127 S.Ct. 1769; *647 Austin, 690 F.3d at            Fourth Amendment where there is probable cause to believe
496-97 (where videotapes were inconclusive as to events,            that a criminal offense has been or is being committed.”
district court properly concluded that factual dispute existed).    Devenpeck v. Alford, 543 U.S. 146, 152, 125 S.Ct. 588, 160
At bottom, the MSP Defendants’ argument is about the                L.Ed.2d 537 (2004). The existence of probable cause depends
sufficiency of the evidence: they “challenge directly the           upon “the reasonable conclusion to be drawn from the facts
plaintiff's allegations (and the district court's acceptance) of    known to the arresting officer at the time of the arrest.”
‘what actually occurred ...,’ who did it, or ‘nothing more          Id. When there is “reasonably trustworthy information ...
than whether the evidence could support a jury's finding            sufficient to warrant a prudent man in believing” that an
that particular conduct occurred,’ ” DiLuzio, 796 F.3d at 609       offense had been or was being committed, there is generally
(brackets omitted) (quoting Ortiz v. Jordan, 562 U.S. 180,          probable cause. Ouza v. City of Dearborn Heights, 969 F.3d
190, 131 S.Ct. 884, 178 L.Ed.2d 703 (2011); then quoting            265, 279 (6th Cir. 2020) (quoting Gardenhire v. Schubert,
Behrens v. Pelletier, 516 U.S. 299, 313, 116 S.Ct. 834, 133         205 F.3d 303, 315 (6th Cir. 2000)) (alteration in Gardenhire).
L.Ed.2d 773 (1996)). It is not within our jurisdiction to resolve   An officer must “consider the totality of the circumstances,”
this dispute. We proceed with deference to the district court's     and “cannot look only at the evidence of guilt while ignoring
determination of facts.                                             all exculpatory evidence when assessing probable cause.”
                                                                    Id. (quoting Gardenhire, 205 F.3d at 318). “In general, the
                                                                    existence of probable cause in a § 1983 action presents a jury
                                                                    question, unless there is only one reasonable determination
III. ANALYSIS                                                       possible.” Gardenhire, 205 F.3d at 315.
We review a district court's denial of qualified immunity de
                                                                    It is clearly established that “[a]n eyewitness identification
novo, LaPlante v. City of Battle Creek, 30 F.4th 572, 578
                                                                    will constitute sufficient probable cause unless, at *648 the
(6th Cir. 2022), and a district court's refusal to address the
                                                                    time of the arrest, there is an apparent reason for the officer


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to believe that the eyewitness was lying, did not accurately      Cir. 2010). Both these cases are readily distinguishable. In
describe what he had seen, or was in some fashion mistaken        Steiger, detectives gathered extensive evidence, conferred
regarding his recollection of the confrontation.” Ahlers v.       repeatedly with the Michigan Attorney General's office to
Schebil, 188 F.3d 365, 370 (6th Cir. 1999) (internal quotation    review the evidence, then applied for an arrest warrant for
marks and citation omitted). A person does have a right to be     Steiger based on the conclusion of the Attorney General
free from arrest “based solely on an eyewitness account that is   that the evidence was sufficient to establish probable cause.
in some way untruthful or unreliable.” Ouza, 969 F.3d at 282.     718 F. App'x at 387-89. We held that, given the thorough
“At most,” an “unreliable and uncorroborated” eyewitness          and deliberate process of the investigation into Steiger's
account alone “gives an officer reasonable suspicion of           behavior, which allowed sufficient time for the Attorney
criminal activity such that the officer would be justified in     General to review the pertinent evidence, the detectives
investigating further pursuant to Terry v. Ohio.” Id. But where   could rely on the Attorney General's *649 judgment that
such an account is corroborated by other evidence, the officer    probable cause existed to charge Steiger and were entitled to
may properly conclude that there is probable cause for a          qualified immunity as to Steiger's false arrest claim. Id. at
warrantless arrest. Cf. id.                                       391-92. The circumstances here were quite different; there
                                                                  was no deliberative, collaborative process between the MSP
Brown was arrested for violating Michigan law, which              Defendants and the prosecutor's office to review the evidence
provides in relevant part that a person shall not, by threat      of Brown's alleged crime, only a conversation between
or intimidation, “[d]iscourage or attempt to discourage           Hanson and the officer in charge.
any individual from attending a present or future official
proceeding as a witness, testifying at a present or future        In Kelly, the Third Circuit held that “a police officer who
official proceeding, or giving information at a present or        relies in good faith on a prosecutor's legal opinion that the
future official proceeding.”2 Mich. Comp. Laws § 750.122(3)       arrest is warranted under the law is presumptively entitled to
(a). The following facts are undisputed: Jones had told           qualified immunity from Fourth Amendment claims premised
Dhooghe and Shingleton that she received threats from Reed's      on a lack of probable cause.” 622 F.3d at 255-56. But
family; at the September 11 hearing, Dhooghe overheard            the “reliance must be itself objectively reasonable” and “a
Reed's lawyer telling Brown that “someone needs to talk to        plaintiff may rebut this presumption by showing that, under
her”; Dhooghe and Shingleton saw Brown at Jones's home            all of the ... circumstances surrounding the arrest, a reasonable
just after they saw her at the September 11 hearing; and          officer would not have relied on the prosecutor's advice.”
Hanson told the officer in charge on September 14 that she        Id. at 256. The Kelly court reversed a district court's finding
had witnessed Brown intimidating Jones and telling her not        that it was objectively reasonable for an officer to rely on
to testify, and that there was probable cause to arrest Brown.    a prosecutor's advice regarding probable cause where the
Brown's retort is that Dhooghe and Shingleton blamed her          officer had observed conduct that he thought constituted a
for the case against Reed “falling apart,” that they wanted       crime, then called the prosecutor to verify that the conduct
to “punish her” for interfering, and that Hanson was lying.       was a crime sufficient to justify probable cause for arrest.
Brown offers no evidence to support her claim. Given the          Id. at 251, 255-59. The court held that additional fact-finding
events and behavior Dhooghe and/or Shingleton knew about,         was necessary to assess whether the officer's reliance on the
there was no reason for them to believe that Hanson was lying     prosecutor's advice was reasonable. Id. at 258-59.
or mistaken when she told the officer in charge what she had
seen and said that there was probable cause for Brown's arrest.   Kelly, of course, is not binding. See Terry v. Tyson Farms,
Under the totality of the circumstances, the officers therefore   Inc., 604 F.3d 272, 278 (6th Cir. 2010). Moreover, the Kelly
had probable cause to arrest Brown for witness intimidation.      court determined that the reasonableness of relying on a
                                                                  prosecutor's advice depends on the circumstances. Kelly, 622
Alternatively, the MSP Defendants argue that an officer           F.3d at 258-59. Here too, there may be factual questions about
should generally be entitled to rely on a prosecutor's            the reasonableness of relying upon Hanson's assessment of
independent judgment that probable cause exists. In their         probable cause, e.g., whether the officers present could have
view, Hanson's conclusion that probable cause existed to          reasonably questioned her ability to neutrally assess that there
arrest Brown was enough on its own. In support, they cite         was probable cause to arrest Brown. We decline to endorse
Steiger v. Hahn, 718 F. App'x 386, 391 (6th Cir. 2018),           the MSP Defendants’ position as to the dispositive nature of
and Kelly v. Borough of Carlisle, 622 F.3d 248, 255-56 (3d        Hanson's legal conclusion. Regardless, under the totality of



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the circumstances, there was probable cause to arrest Brown.        offense without a warrant” to take the person arrested before a
See Cox v. Hainey, 391 F.3d 25, 34 (1st Cir. 2004) (situating       magistrate “without unnecessary delay.” Mich. Comp. Laws
pre-arrest consultation with a prosecutor in the “totality of the   § 764.13. Thus, the officer or officers who arrested Brown
circumstances” and collecting cases from other circuits). The       had the legal obligation to ensure she received a probable
MSP Defendants did not violate her Fourth Amendment right           cause hearing within 48 hours. In Michigan, an arrest is “the
to be free from arrest without probable cause and are entitled      taking, seizing, or detaining of the person of another, either
to qualified immunity on Brown's false arrest claim.                by touching or putting hands on him, or by any act which
                                                                    indicates an intention to take him into custody and subjects
                                                                    the person arrested to the actual control and will of the person
   B. Brown's Detention                                             making the arrest.” People v. Gonzales, 356 Mich. 247, 97
“Individuals arrested and detained without a warrant are            N.W.2d 16, 19 (1959) (quoting 4 Am. Jur. Arrest, § 2); see
entitled to a ‘prompt’ judicial determination of probable           also Skousen v. Brighton High Sch., 305 F.3d 520, 529 (6th
cause.” Drogosch v. Metcalf, 557 F.3d 372, 378 (6th Cir.            Cir. 2002).
2009) (quoting Gerstein v. Pugh, 420 U.S. 103, 125, 95
S.Ct. 854, 43 L.Ed.2d 54 (1975)). In the absence of                 Under Michigan law, Willoughby and Knapp were arresting
exceptional circumstances, the government must generally            officers with a Riverside obligation because they arrested
provide a probable cause determination within 48 hours              Brown by handcuffing her, physically taking her into
for the determination to be considered sufficiently prompt.         custody, and transporting her to jail. The MSP Defendants
County of Riverside v. McLaughlin, 500 U.S. 44, 56-57, 111
                                                                    acknowledge as much.4 See Appellants’ Br. at 31. The
S.Ct. 1661, 114 L.Ed.2d 49 (1991). A failure to do so violates
                                                                    parties disagree vociferously, however, as to Shingleton and
the individual's Fourth Amendment rights and is known as a
                                                                    Dhooghe's obligations. Taking the facts as found by the
Riverside violation.3 See id. Where the arrested person *650        district court and in the light most favorable to Brown,
does not receive a probable cause determination within 48           Dhooghe was physically present at the courthouse, potentially
hours, the government bears the burden of demonstrating “the        spoke with Hanson, and directed Knapp and Willoughby to
existence of a bona fide emergency or other extraordinary           arrest Brown. Although Dhooghe did not physically arrest
circumstance” that would justify the delay. Id. at 57, 111 S.Ct.    Brown because he did not have his handcuffs on him, he still
1661.                                                               took actions that “indicate[d] an intention” to take Brown
                                                                    into custody and subjected Brown to his will by directing
There is no dispute that Brown was detained without a               other officers to take her into custody. Gonzales, 97 N.W.2d
probable cause hearing for approximately 96 hours, and              at 19. Dhooghe was an arresting officer for purposes of
that she was entitled to such a hearing absent extraordinary        the Riverside analysis. As for Shingleton, the *651 district
circumstances. But although the MSP Defendants cursorily            court found it was unsettled whether he was physically
assert that the circumstances here were extraordinary, they fail    present when Brown was arrested. Assuming, in the light
to support that assertion or develop that argument. Instead,        most favorable to Brown, that he was, Shingleton was one
the MSP Defendants argue that (1) they “personally” did             of the detectives in charge of the Reed case that Hanson
not intentionally violate Brown's right to receive a prompt         contacted to report Brown's intimidation and discuss her
determination of probable cause; and (2) it was not clearly         arrest. Additionally, he authored a report about Brown's arrest
established at the time that the MSP Defendants’ conduct was        and was aware of her incarceration such that he eventually
a violation of Brown's rights given the circumstances.              authorized her release. Shingleton was thus part of the
                                                                    decision to arrest Brown and direct Knapp and Willoughby to
                                                                    physically take her into custody. By so doing, he took actions
1. The MSP Defendants’ Violation of Brown's Rights                  indicating intent to take Brown into custody and was therefore
                                                                    also an arresting officer.
We “look to state law to determine who is responsible for
ensuring that a judicial determination of probable cause takes      The MSP Defendants contend that they “lacked the power to
place within 48 hours” of an arrest. Drogosch, 557 F.3d at          convene a probable cause hearing on their own,” and that it
378-79 (quoting Cherrington v. Skeeter, 344 F.3d 631, 644           was objectively reasonable for them to assume that Hanson
(6th Cir. 2003)). Michigan state law provides that it is the        would secure Brown's arrest warrant. Although Michigan law
duty of “[a] peace officer who has arrested a person for an         requires the arresting officer to bring a person arrested without



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a warrant before a magistrate for their probable cause hearing,     The MSP Defendants’ only answer is that “the alleged offense
other parties must act as well: the prosecutor requests the         happened in the presence of an assistant prosecutor who
warrant and a magistrate makes a finding of reasonable cause        directed one police officer to arrest Brown and who in turn
and ultimately issues the warrant. See Mich. Comp. Laws §           referred that request to another officer who happened to
764.1a(1), (2)(d), (4). The MSP Defendants claim that not one       be in uniform and with handcuffs.” Appellants’ Br. at 26.
of them observed the factual allegations supporting Brown's         This proposed “extraordinary circumstance” does not take
arrest or had the personal knowledge needed to author an            Brown's case “outside the usual 48-hour rule.” Cherrington,
affidavit. In their view, only Hanson could have sworn out a        344 F.3d at 643. Regardless of the precise mechanics of
complaint and requested a warrant, and they cannot be held          Brown's arrest, the bottom line is that multiple officers were
liable for any failure to do so.                                    involved in her arrest and subsequent transport to custody.
                                                                    The MSP Defendants offer no reason that the involvement of
This position ignores the undisputed fact that the MSP              multiple officers—an everyday occurrence in arrests across
Defendants did not even attempt to ensure that Brown                the country—would prevent or excuse them from complying
received a probable cause hearing. Hanson herself testified         with their Riverside obligations. The presence of a witness to
that the prosecutor's office typically waits for the arresting      the alleged crime during an arrest is similarly common and of
officers to submit a prosecutor's packet before preparing           no moment. The MSP Defendants therefore violated Brown's
a warrant or proposed complaint. Nothing in the record              right to receive a prompt determination of probable cause.
indicates that the MSP Defendants could not have followed
this routine procedure by preparing a prosecutor's packet and
contacting Hanson to collect an affidavit from her. This is
                                                                    2. Whether Brown's Rights Were Clearly Established
particularly true if Hanson could not investigate and prosecute
the case, given that she was a witness to the alleged crime.        A constitutional right is clearly established when, “at the time
The MSP Defendants “essentially contend[ ] that ‘someone            of the officer's conduct, the law was sufficiently clear that
screwed up, but it wasn't me.’ ” Drogosch, 557 F.3d at 378.         every reasonable official would understand that what he is
Under Michigan law, however, they were responsible for              doing is unlawful.” District of Columbia v. Wesby, 583 U.S.
bringing Brown before a magistrate for a prompt probable            48, 138 S. Ct. 577, 589, 199 L.Ed.2d 453 (2018) (internal
cause determination. See id. at 379. The MSP Defendants             quotation marks and citation omitted). Existing law must put
cannot skirt this duty by pointing fingers elsewhere. In sum,       the “constitutionality of the officer's conduct ‘beyond debate.’
all four MSP Defendants had a Riverside obligation.                 ” Id. (quoting Ashcroft v. al-Kidd, 563 U.S. 731, 741, 131
                                                                    S.Ct. 2074, 179 L.Ed.2d 1149 (2011)). The Supreme Court
The MSP Defendants maintain that they did not intentionally         has “stressed that courts must not ‘define clearly established
violate that obligation, citing the general requirement for §       law at a high level of generality, since doing so avoids the
1983 liability that a defendant must have acted “knowingly          crucial question whether the official acted reasonably in the
or intentionally to violate [a plaintiff's] constitutional rights   particular circumstances that he or she faced.’ ” Id. at 590,
such that mere negligence or recklessness is insufficient.”5        138 S.Ct. 577 (quoting Plumhoff v. Rickard, 572 U.S. 765,
Ahlers, 188 F.3d at 373. In the context of a Riverside claim,       779, 134 S.Ct. 2012, 188 L.Ed.2d 1056 (2014)). That said, a
we have held that, where the “undisputed record” establishes        “plaintiff need not always put forth ‘a case directly on point’ ”
a violation of the Riverside 48-hour rule and the defendant         to show that her rights “were indeed clearly established at the
fails to “identify any emergency or other extraordinary *652        time of the conduct.” Shumate v. City of Adrian, 44 F.4th 427,
circumstance” as justification, the plaintiff “can withstand        449 (6th Cir. 2022) (quoting Rivas-Villegas v. Cortesluna,
the first prong of the qualified immunity inquiry by virtue         ––– U.S. ––––, 142 S. Ct. 4, 7, 211 L.Ed.2d 164 (2021) (per
of the violation of her Fourth Amendment right to a judicial        curiam)). A“[p]laintiff need not show that ‘the very action in
determination of probable cause within 48 hours of her              question has previously been held unlawful, but ... in light of
arrest.” Cherrington, 344 F.3d at 644. So, the question is          pre-existing law, the unlawfulness [of the official action] must
whether the MSP Defendants can establish an emergency               be apparent.’ ” Id. at 449-50 (quoting Anderson v. Creighton,
or extraordinary circumstance to merit Brown's prolonged            483 U.S. 635, 640, 107 S.Ct. 3034, 97 L.Ed.2d 523 (1987))
detention.                                                          (second alteration in Shumate).




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The parties focus their attention on four relevant cases:           an inapplicable detainer form that was “the root cause” of the
Cherrington v. Skeeter, 344 F.3d 631 (6th Cir. 2003) (denied        constitutional violation. Id. at 378-79. Furthermore, Riverside
qualified immunity); Drogosch v. Metcalf, 557 F.3d 372 (6th         preceded Drogosch's arrest by over a decade and “would have
Cir. 2009) (same); Rayfield v. City of Grand Rapids, 768 F.         alerted a reasonable official” to his Fourth Amendment right
App'x 495 (6th Cir. 2019) (granted qualified immunity); and         to a prompt probable hearing.6 Id. at 379.
Roberson v. Wynkoop, No. 21-1240, 2021 WL 5190902 (6th
Cir. 2021) (per curiam) (same). We summarize each.                  Then, in 2014, Rayfield was arrested in Michigan after a
                                                                    domestic dispute with his neighbor. 768 F. App'x at 499. At
Cherrington was arrested in Ohio early on a Saturday morning        some point after his arrest, Rayfield was transferred from
in the late summer of 1996 and was not arraigned until              the City of Grand Rapids Police Department to the County
the following Tuesday. 344 F.3d at 635. She *653 was                of Kent pursuant to an agreement between the City and the
arrested without a warrant and was not provided with a              County that the County would house people arrested by the
probable cause hearing for over 72 hours while detained. Id.        Grand Rapids Police Department. Id. In total, Rayfield was
at 642-43. The defendant officers argued that their failure         detained for more than 48 hours without a probable cause
to present Cherrington for a probable cause determination           hearing; it is unclear how much time he spent in the City's
should be excused because her arrest occurred over the              custody as opposed to the County's. Id.; see id. at 508-09.
Labor Day holiday weekend and because she was cooperating           We found that it was “admittedly arguable that when [the
in an undercover investigation in the days following her            Grand Rapids defendants] transferred custody of Rayfield
arrest, which would have been jeopardized by a probable             to the County facility, they should have alerted the County
cause hearing. Id. at 643. We held that the officers were           officials *654 regarding the length of time that they had
not entitled to qualified immunity given Riverside, which           previously detained Rayfield, to ensure that Rayfield was not
put officers on notice of defendants’ Fourth Amendment              detained for a total of more than 48 hours before a hearing.”
right to a probable-cause hearing within 48 hours, and              Id. at 508-09. We nevertheless affirmed the district court's
which “expressly caution[ed]” that intervening weekends and         decision to grant the arresting officers’ motions to dismiss on
holidays did not qualify as “extraordinary circumstances”           the grounds of qualified immunity. Id. at 508-10. We reasoned
“permit[ting] relief” from that requirement. Id. at 643-44.         that, even if the officers had violated Rayfield's constitutional
                                                                    rights by detaining him for more than 48 hours without a
Next, in 2004, officers randomly searched Drogosch's                probable cause hearing, Cherrington had not addressed “the
Michigan home, recovering a firearm. 557 F.3d at 375. He            factually and legally distinct situation presented by Rayfield's
was on probation at the time but was not disqualified from          case, namely when two municipalities, both of which have
owning a firearm under the terms of his probation order.            authority to process a detainee, jointly manage the custody
Id. Drogosch tried to explain the situation to the officers,        of a pre-hearing detainee.” Id. at 509-10. Although we could
but they arrested him anyway. Id. at 376. When Drogosch             “plausibly conceive of a situation in which City and County
was brought to jail, the arresting officer completed a parole       officials would violate a detainee's rights under County of
detainer form, not a probation detainer form, even though           Riverside by failing adequately to inform the other municipal
he was aware that detained parolees were not entitled to            authority regarding the status of the individual's detention,” it
an immediate hearing, while detained probationers were. Id.         was not clearly established that any failure by the officers to
Drogosch was then imprisoned for more than 48 hours (in             do so had violated Rayfield's constitutional rights. Id. at 510.
fact, for over a week) without a probable cause hearing. Id.
at 376-77. The arresting officer argued that he “had no legal       Finally, in 2016, Roberson was arrested at his Michigan
obligation to physically bring Drogosch before a judge for a        residence by MSP troopers after a domestic dispute. 2021
probation-violation hearing,” and that he had done what was         WL 5190902, at *1. The arresting officer completed the
required of him by bringing Drogosch to jail, filling out the       incident report and paperwork requesting an arrest warrant
paperwork, and contacting Drogosch's probation officer. Id.         over 24 hours after Roberson was arrested; once the report and
Here, too, we held that the officer was not entitled to qualified   warrant packet were submitted, the situation was “out of [the
immunity. Id. at 380. Under Michigan law, he failed to              officer's] hands.” Id. The prosecutor processed the paperwork
fulfill his duty to ensure Drogosch received a probable cause       quickly, but the judicial officer did not hold the probable cause
hearing—and even if he was not “technically” responsible for        determination until the next morning, more than 48 hours
bringing Drogosch before a judge, it was his decision to use        after Roberson was arrested. Id. We found that the officer was



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entitled to qualified immunity because, even if he had violated    hearing for Brown.7 Roberson is *655 distinguishable for
Roberson's constitutional rights, “Riverside and its progeny       that same reason. The arresting officer there completed the
[did] not clearly establish that an officer in [the trooper's]     necessary paperwork to secure Roberson a probable cause
position [was] liable in particularized circumstances like         hearing. 2021 WL 5190902, at *1.
these.” Id. at *2. MSP “troopers rely on other agencies
and actors in the criminal justice system to ensure that           Cherrington established in 2003 that officers are assumed
arrestees receive their probable cause determination” because      to be aware of an individual's right to a probable cause
the MSP does not own or operate its own jails, and it was not      determination within 48 hours. Cherrington, 344 F.3d at 644.
objectively unreasonable for the arresting officer “to expect      And Drogosch confirmed almost a decade before Brown
the process to occur in a timely manner as it normally does”       was arrested that, in Michigan, arresting officers have an
given that he had completed the requisite paperwork. Id. at *3.    obligation to try to secure a probable cause hearing for the
                                                                   person they arrest, including by filing appropriate paperwork.
The MSP Defendants argue that Rayfield and Roberson                Drogosch, 557 F.3d at 379-80; see also Cherrington, 344
(which both granted qualified immunity) demonstrate that           F.3d at 644. It was therefore clearly established at the time of
their conduct was lawful, and that neither Cherrington             Brown's arrest that her arresting officers had a duty to take her
nor Drogosch (which both denied qualified immunity) is             before a magistrate for a probable cause hearing. The MSP
sufficiently particularized to put them on notice that their       Defendants made no efforts to do so, and they are not entitled
actions were unlawful. We disagree on both points.                 to qualified immunity on Brown's Riverside claim.

Rayfield and Roberson are distinguishable, as well as non-
binding. In Rayfield, the issue was a lack of communication        IV. CONCLUSION
between two municipalities jointly managing a person's
pretrial detention: Rayfield was in Grand Rapids custody for       For the foregoing reasons, we AFFIRM the district court's
some time, then transferred to the County of Kent's custody        judgment as to Brown's Riverside claim and REVERSE the
without notification to the County officials of how much           district court's judgment as to Brown's false arrest claim. We
time he had spent in City custody. See 768 F. App'x at             REMAND the case for further proceedings consistent with
508-10. Here, the problem is not the MSP Defendants’ and           this opinion.
Genesee County's communication (and, in fact, it seems that
Genesee County did flag Brown's ongoing detention to MSP
employees). There is no evidence that the MSP Defendants           All Citations
took any steps at all to facilitate a timely probable cause
                                                                   75 F.4th 638


Footnotes
1      Brown also named Jason Gould, the jail administrator, Mackenzie Rose, a jailer at Genesee County Jail, and Genesee
       County, Michigan, in her complaint (collectively, the Genesee County Defendants), and alleged a malicious prosecution
       claim against Shingleton and Dhooghe. The district court granted the Genesee County Defendants’ motion for summary
       judgment and dismissed Brown's malicious prosecution claim. Brown does not appeal either ruling.

2      Brown also cites another potentially relevant subsection: “A person shall not willfully impede, interfere with, prevent, or
       obstruct or attempt to willfully impede, interfere with, prevent, or obstruct the ability of a witness to attend, testify, or
       provide information in or for a present or future official proceeding.” Mich. Comp. Laws § 750.122(6).

3      Brown also asserted that her detainment without a hearing violated the Fifth Amendment's Due Process Clause as
       incorporated through the Fourteenth Amendment. “[I]t is the Fourth, rather than the Fourteenth, Amendment that applies
       to this case because ‘the Fourth Amendment governs the period of confinement between arrest without a warrant and
       the preliminary ... determination of probable cause,’ ” whereas “due process regulates the period of confinement after
       the initial determination of probable cause.” Drogosch, 557 F.3d at 378 (quoting Villanova v. Abrams, 972 F.2d 792, 797
       (7th Cir. 1992)).




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4     The MSP Defendants suggest that Willoughby and Knapp are not responsible because § 1983 actions are limited
      to deprivations of federal statutory and constitutional rights and do not encompass violations of state law. This is
      shadowboxing: Brown does not claim that Knapp and Willoughby violated state law. Rather, she alleges that they violated
      her Fourth Amendment rights. As the MSP Defendants’ own brief notes, we look to state law merely to define those rights.

5     The cases the MSP Defendants cite to support their desired rule both analyzed conceptually distinct Fourth Amendment
      claims that used their own particularized standards. See Butler v. City of Detroit, 936 F.3d 410, 418 (6th Cir. 2019) (“In the
      context of a Fourth Amendment claim that a police officer lied in a search warrant, we have distilled a specific inquiry.”);
      Caminata v. County of Wexford, 664 F. App'x 496, 500 (6th Cir. 2016) (intentional or reckless action is a “necessary
      element of both” Fourth Amendment claims of “fabrication of evidence and malicious prosecution”).

6     We also discussed the objective reasonableness of the officer's actions, finding that his “act of imprisoning Drogosch
      involved nothing like split-second decisionmaking” and that he had “plenty of time to ponder the decision of whether to
      lodge Drogosch in the jail using the incorrect detainer form.” Id. at 379-80. The officer “would have known that Drogosch
      was not in violation of his probation and was not even a felon if he had bothered to look at the probation paperwork that
      Drogosch tried to show him before the arrest.” Id. at 380.

7     The MSP Defendants’ reliance on Rayfield is troubling for another reason: the MSP does not own or operate its own
      jails, so it must coordinate with municipalities to house detainees on its behalf. Under the MSP Defendants’ theory, the
      agency could always be entitled to qualified immunity for Riverside claims because MSP arrests and pretrial detentions
      necessarily involve multiple municipalities and agencies.



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